Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 1 of 191 PageID #: 32535




                                 EXHIBIT A
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 2 of 191 PageID #: 32536




                    REDACTED
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 3 of 191 PageID #: 32537




                                 EXHIBIT B
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 4 of 191 PageID #: 32538




                    REDACTED
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 5 of 191 PageID #: 32539




                                 EXHIBIT C
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 6 of 191 PageID #: 32540




                    REDACTED
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 7 of 191 PageID #: 32541




                                 EXHIBIT D
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 8 of 191 PageID #: 32542




                    REDACTED
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 9 of 191 PageID #: 32543




                                 EXHIBIT E
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 10 of 191 PageID #: 32544




                    REDACTED
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 11 of 191 PageID #: 32545




                                  EXHIBIT F
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 12 of 191 PageID #: 32546




                    REDACTED
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 13 of 191 PageID #: 32547




                                  EXHIBIT G
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 14 of 191 PageID #: 32548




                    REDACTED
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 15 of 191 PageID #: 32549




                                  EXHIBIT H
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 16 of 191 PageID #: 32550




                    REDACTED
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 17 of 191 PageID #: 32551




                                  EXHIBIT I
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 18 of 191 PageID #: 32552




                    REDACTED
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 19 of 191 PageID #: 32553




                                  EXHIBIT J
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 20 of 191 PageID #: 32554




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Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 21 of 191 PageID #: 32555




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Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 22 of 191 PageID #: 32556




                                  TAB 3
    Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 23 of 191 PageID #: 32557
$2% 5HY 6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRUWR3HUPLW,QVSHFWLRQRI3UHPLVHVLQD&LYLO$FWLRQ


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                                                                                     IRUWKH
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                                                                     District of Delaware

                             &KDQERQG //&
                                    Plaintiff
                                        Y
     $WODQWLF %URDGEDQG *URXS //& %ULJKW +RXVH 1HWZRUNV //& &DEOH 2QH ,QF                &LYLO$FWLRQ1R
 &DEOHYLVLRQ 6\VWHPV &RUS &6& +ROGLQJV //& &HTXHO &RPPXQLFDWLRQV //& &HTXHO
      &RPPXQLFDWLRQV +ROGLQJV , //& GED 6XGGHQOLQN &RPPXQLFDWLRQV &KDUWHU
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 &RPPXQLFDWLRQV ,QF 0HGLDFRP &RPPXQLFDWLRQV &RUS 5&1 7HOHFRP 6HUYLFHV //&
 7LPH :DUQHU &DEOH ,QF 7LPH :DUQHU &DEOH (QWHUSULVHV //& :DYH'LYLVLRQ +ROGLQJV
                                   Defendant
                       //& DQG :LGH2SHQ :HVW )LQDQFH //&


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                                                                (Name of person to whom this subpoena is directed)

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       u Production: <28$5(&200$1'('WRSURGXFHDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWKHIROORZLQJ
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWVDQGWRSHUPLWLQVSHFWLRQFRS\LQJWHVWLQJRUVDPSOLQJRIWKH
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PD\LQVSHFWPHDVXUHVXUYH\SKRWRJUDSKWHVWRUVDPSOHWKHSURSHUW\RUDQ\GHVLJQDWHGREMHFWRURSHUDWLRQRQLW

  3ODFH                                                                                       'DWHDQG7LPH



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                                        CLERK OF COURT
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                                                 Signature of Clerk or Deputy Clerk                                    Attorney’s signature


 7KHQDPHDGGUHVVHPDLODGGUHVVDQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ(name of party)
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   Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 24 of 191 PageID #: 32558
$2% 5HY 6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRUWR3HUPLW,QVSHFWLRQRI3UHPLVHVLQD&LYLO$FWLRQ 3DJH

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                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            ,UHFHLYHGWKLVVXESRHQDIRU(name of individual and title, if any)
RQ (date)                               

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                                                                                                    Server’s signature



                                                                                                  Printed name and title




                                                                                                     Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
    Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 25 of 191 PageID #: 32559
$2% 5HY 6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRUWR3HUPLW,QVSHFWLRQRI3UHPLVHVLQD&LYLO$FWLRQ 3DJH

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  For a Trial, Hearing, or Deposition. $VXESRHQDPD\FRPPDQGD                 VWXG\WKDWZDVQRWUHTXHVWHGE\DSDUW\
SHUVRQWRDWWHQGDWULDOKHDULQJRUGHSRVLWLRQRQO\DVIROORZV                      & Specifying Conditions as an Alternative. ,QWKHFLUFXPVWDQFHV
 $ ZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRU               GHVFULEHGLQ5XOH G  % WKHFRXUWPD\LQVWHDGRITXDVKLQJRU
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 % ZLWKLQWKHVWDWHZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRUUHJXODUO\        FRQGLWLRQVLIWKHVHUYLQJSDUW\
WUDQVDFWVEXVLQHVVLQSHUVRQLIWKHSHUVRQ                                               L VKRZVDVXEVWDQWLDOQHHGIRUWKHWHVWLPRQ\RUPDWHULDOWKDWFDQQRWEH
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H[SHQVH
                                                                                    H 'XWLHVLQ5HVSRQGLQJWRD6XESRHQD
  For Other Discovery. $VXESRHQDPD\FRPPDQG
 $ SURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRU                Producing Documents or Electronically Stored Information. 7KHVH
WDQJLEOHWKLQJVDWDSODFHZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLV         SURFHGXUHVDSSO\WRSURGXFLQJGRFXPHQWVRUHOHFWURQLFDOO\VWRUHG
HPSOR\HGRUUHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQDQG                            LQIRUPDWLRQ
 % LQVSHFWLRQRISUHPLVHVDWWKHSUHPLVHVWREHLQVSHFWHG                         $ Documents. $SHUVRQUHVSRQGLQJWRDVXESRHQDWRSURGXFHGRFXPHQWV
                                                                                    PXVWSURGXFHWKHPDVWKH\DUHNHSWLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRU
G 3URWHFWLQJD3HUVRQ6XEMHFWWRD6XESRHQD(QIRUFHPHQW                          PXVWRUJDQL]HDQGODEHOWKHPWRFRUUHVSRQGWRWKHFDWHJRULHVLQWKHGHPDQG
                                                                                        % Form for Producing Electronically Stored Information Not Specified.
  Avoiding Undue Burden or Expense; Sanctions. $SDUW\RUDWWRUQH\              ,IDVXESRHQDGRHVQRWVSHFLI\DIRUPIRUSURGXFLQJHOHFWURQLFDOO\VWRUHG
UHVSRQVLEOHIRULVVXLQJDQGVHUYLQJDVXESRHQDPXVWWDNHUHDVRQDEOHVWHSV           LQIRUPDWLRQWKHSHUVRQUHVSRQGLQJPXVWSURGXFHLWLQDIRUPRUIRUPVLQ
WRDYRLGLPSRVLQJXQGXHEXUGHQRUH[SHQVHRQDSHUVRQVXEMHFWWRWKH                ZKLFKLWLVRUGLQDULO\PDLQWDLQHGRULQDUHDVRQDEO\XVDEOHIRUPRUIRUPV
VXESRHQD7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPXVW                  & Electronically Stored Information Produced in Only One Form. 7KH
HQIRUFHWKLVGXW\DQGLPSRVHDQDSSURSULDWHVDQFWLRQ²ZKLFKPD\LQFOXGH              SHUVRQUHVSRQGLQJQHHGQRWSURGXFHWKHVDPHHOHFWURQLFDOO\VWRUHG
ORVWHDUQLQJVDQGUHDVRQDEOHDWWRUQH\¶VIHHV²RQDSDUW\RUDWWRUQH\ZKR             LQIRUPDWLRQLQPRUHWKDQRQHIRUP
IDLOVWRFRPSO\                                                                        ' Inaccessible Electronically Stored Information. 7KHSHUVRQ
                                                                                    UHVSRQGLQJQHHGQRWSURYLGHGLVFRYHU\RIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
  Command to Produce Materials or Permit Inspection.                            IURPVRXUFHVWKDWWKHSHUVRQLGHQWLILHVDVQRWUHDVRQDEO\DFFHVVLEOHEHFDXVH
    $ Appearance Not Required. $SHUVRQFRPPDQGHGWRSURGXFH                        RIXQGXHEXUGHQRUFRVW2QPRWLRQWRFRPSHOGLVFRYHU\RUIRUDSURWHFWLYH
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWR             RUGHUWKHSHUVRQUHVSRQGLQJPXVWVKRZWKDWWKHLQIRUPDWLRQLVQRW
SHUPLWWKHLQVSHFWLRQRISUHPLVHVQHHGQRWDSSHDULQSHUVRQDWWKHSODFHRI        UHDVRQDEO\DFFHVVLEOHEHFDXVHRIXQGXHEXUGHQRUFRVW,IWKDWVKRZLQJLV
SURGXFWLRQRULQVSHFWLRQXQOHVVDOVRFRPPDQGHGWRDSSHDUIRUDGHSRVLWLRQ          PDGHWKHFRXUWPD\QRQHWKHOHVVRUGHUGLVFRYHU\IURPVXFKVRXUFHVLIWKH
KHDULQJRUWULDO                                                                  UHTXHVWLQJSDUW\VKRZVJRRGFDXVHFRQVLGHULQJWKHOLPLWDWLRQVRI5XOH
    % Objections. $SHUVRQFRPPDQGHGWRSURGXFHGRFXPHQWVRUWDQJLEOH                E  & 7KHFRXUWPD\VSHFLI\FRQGLWLRQVIRUWKHGLVFRYHU\
WKLQJVRUWRSHUPLWLQVSHFWLRQPD\VHUYHRQWKHSDUW\RUDWWRUQH\GHVLJQDWHG
LQWKHVXESRHQDDZULWWHQREMHFWLRQWRLQVSHFWLQJFRS\LQJWHVWLQJRU               Claiming Privilege or Protection.
VDPSOLQJDQ\RUDOORIWKHPDWHULDOVRUWRLQVSHFWLQJWKHSUHPLVHV²RUWR               $ Information Withheld. $SHUVRQZLWKKROGLQJVXESRHQDHGLQIRUPDWLRQ
SURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHIRUPRUIRUPVUHTXHVWHG         XQGHUDFODLPWKDWLWLVSULYLOHJHGRUVXEMHFWWRSURWHFWLRQDVWULDOSUHSDUDWLRQ
7KHREMHFWLRQPXVWEHVHUYHGEHIRUHWKHHDUOLHURIWKHWLPHVSHFLILHGIRU           PDWHULDOPXVW
FRPSOLDQFHRUGD\VDIWHUWKHVXESRHQDLVVHUYHG,IDQREMHFWLRQLVPDGH              L H[SUHVVO\PDNHWKHFODLPDQG
WKHIROORZLQJUXOHVDSSO\                                                                LL GHVFULEHWKHQDWXUHRIWKHZLWKKHOGGRFXPHQWVFRPPXQLFDWLRQVRU
       L $WDQ\WLPHRQQRWLFHWRWKHFRPPDQGHGSHUVRQWKHVHUYLQJSDUW\         WDQJLEOHWKLQJVLQDPDQQHUWKDWZLWKRXWUHYHDOLQJLQIRUPDWLRQLWVHOI
PD\PRYHWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGIRUDQ             SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
RUGHUFRPSHOOLQJSURGXFWLRQRULQVSHFWLRQ                                             % Information Produced. ,ILQIRUPDWLRQSURGXFHGLQUHVSRQVHWRD
     LL 7KHVHDFWVPD\EHUHTXLUHGRQO\DVGLUHFWHGLQWKHRUGHUDQGWKH        VXESRHQDLVVXEMHFWWRDFODLPRISULYLOHJHRURISURWHFWLRQDV
RUGHUPXVWSURWHFWDSHUVRQZKRLVQHLWKHUDSDUW\QRUDSDUW\¶VRIILFHUIURP       WULDOSUHSDUDWLRQPDWHULDOWKHSHUVRQPDNLQJWKHFODLPPD\QRWLI\DQ\SDUW\
VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH                                      WKDWUHFHLYHGWKHLQIRUPDWLRQRIWKHFODLPDQGWKHEDVLVIRULW$IWHUEHLQJ
                                                                                    QRWLILHGDSDUW\PXVWSURPSWO\UHWXUQVHTXHVWHURUGHVWUR\WKHVSHFLILHG
  Quashing or Modifying a Subpoena.                                             LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
     $ When Required. 2QWLPHO\PRWLRQWKHFRXUWIRUWKHGLVWULFWZKHUH            XQWLOWKHFODLPLVUHVROYHGPXVWWDNHUHDVRQDEOHVWHSVWRUHWULHYHWKH
FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW                        LQIRUPDWLRQLIWKHSDUW\GLVFORVHGLWEHIRUHEHLQJQRWLILHGDQGPD\SURPSWO\
 L IDLOVWRDOORZDUHDVRQDEOHWLPHWRFRPSO\                             SUHVHQWWKHLQIRUPDWLRQXQGHUVHDOWRWKHFRXUWIRUWKHGLVWULFWZKHUH
         LL UHTXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWV             FRPSOLDQFHLVUHTXLUHGIRUDGHWHUPLQDWLRQRIWKHFODLP7KHSHUVRQZKR
VSHFLILHGLQ5XOH F                                                             SURGXFHGWKHLQIRUPDWLRQPXVWSUHVHUYHWKHLQIRUPDWLRQXQWLOWKHFODLPLV
         LLL UHTXLUHVGLVFORVXUHRISULYLOHJHGRURWKHUSURWHFWHGPDWWHULIQR    UHVROYHG
H[FHSWLRQRUZDLYHUDSSOLHVRU
         LY VXEMHFWVDSHUVRQWRXQGXHEXUGHQ                                      J &RQWHPSW
    % When Permitted. 7RSURWHFWDSHUVRQVXEMHFWWRRUDIIHFWHGE\D               7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG²DQGDOVRDIWHUD
VXESRHQDWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPD\RQ           PRWLRQLVWUDQVIHUUHGWKHLVVXLQJFRXUW²PD\KROGLQFRQWHPSWDSHUVRQ
PRWLRQTXDVKRUPRGLI\WKHVXESRHQDLILWUHTXLUHV                                ZKRKDYLQJEHHQVHUYHGIDLOVZLWKRXWDGHTXDWHH[FXVHWRREH\WKH
          L GLVFORVLQJDWUDGHVHFUHWRURWKHUFRQILGHQWLDOUHVHDUFK              VXESRHQDRUDQRUGHUUHODWHGWRLW
GHYHORSPHQWRUFRPPHUFLDOLQIRUPDWLRQRU



                                          )RUDFFHVVWRVXESRHQDPDWHULDOVVHH)HG5&LY3 D &RPPLWWHH1RWH  
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                                              $77$&+0(17$
                      Chanbond, LLC v. Atlantic Broadband Group, LLC et al. 
                           &LYLO$FWLRQ1RVFY ''HO 
                                                     
                                             '(),1,7,216
                                                     
           7KH IROORZLQJ GHILQLWLRQV DUH DSSOLFDEOH WR WHUPV HPSOR\HG LQ UHVSRQGLQJ WR WKLV

   6XESRHQDDuces Tecum ³6XESRHQD´ IRUWKHSURGXFWLRQRIGRFXPHQWV

                 7KHWHUPV³<RX´RU³<RXU´PHDQ'HLUGUH/HDQH

                 7KH WHUP ³,31DY´ PHDQV ,3 1DYLJDWLRQ *URXS //& DQG DQ\ DQG DOO

   SUHGHFHVVRUVVXFFHVVRUVGLYLVLRQVVXEVLGLDULHVRUMRLQWYHQWXUHVWKHUHRIWRJHWKHUZLWKDQ\DQG

   DOOSDUHQWRUDIILOLDWHGFRPSDQLHVRUFRUSRUDWLRQVLQFOXGLQJEXWQRWOLPLWHGWR,3&0$GYLVRUV

   RU LS&0 //& DQG DOO SDVW RU SUHVHQW PHPEHUV VKDUHKROGHUV RIILFHUV GLUHFWRUV HPSOR\HHV

   DJHQWVDWWRUQH\VUHSUHVHQWDWLYHVDQ\SDVWRUFXUUHQWLQYHVWRUVRUSHUVRQVZLWKDQLQWHUHVWLQ,3

   1DYLJDWLRQ*URXS//&DQGDOORWKHUSHUVRQVDFWLQJRUSXUSRUWLQJWRDFWRUWKDWKDYHDFWHGRU

   SXUSRUWHGWRKDYHDFWHGRQEHKDOIRIDQ\RIWKHIRUHJRLQJ

                 7KH WHUP ³&KDQERQG´ PHDQV &KDQERQG //& DQG DQ\ DQG DOO SUHGHFHVVRUV

   VXFFHVVRUVGLYLVLRQVVXEVLGLDULHVRUMRLQWYHQWXUHVWKHUHRIWRJHWKHUZLWKDQ\DQGDOOSDUHQWRU

   DIILOLDWHGFRPSDQLHVRUFRUSRUDWLRQVLQFOXGLQJDWOHDVW&%9DQG=%DQGDQGDOOSDVWRUSUHVHQW

   PHPEHUV VKDUHKROGHUV RIILFHUV GLUHFWRUV HPSOR\HHV DJHQWV DWWRUQH\V UHSUHVHQWDWLYHV DQ\

   SDVWRUFXUUHQWLQYHVWRUVRUSHUVRQVZLWKDQLQWHUHVWLQ&KDQERQG//&RUWKH$VVHUWHG3DWHQWV

   5HODWHG3DWHQWVRU5HODWHG$SSOLFDWLRQVLQFOXGLQJDWOHDVW8QLILHG2QOLQHDQGDOORWKHUSHUVRQV

   DFWLQJRUSXUSRUWLQJWRDFWRUWKDWKDYHDFWHGRUSXUSRUWHGWRKDYHDFWHGRQEHKDOIRIDQ\RIWKH

   IRUHJRLQJ

                 7KH WHUP ³&%9´ PHDQV &%9 ,QF DQG DQ\ DQG DOO SUHGHFHVVRUV VXFFHVVRUV

   GLYLVLRQV VXEVLGLDULHV RU MRLQW YHQWXUHV WKHUHRI WRJHWKHU ZLWK DQ\ DQG DOO SDUHQW RU DIILOLDWHG

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   FRPSDQLHV RU FRUSRUDWLRQV DQG DOO SDVW RU SUHVHQW PHPEHUV VKDUHKROGHUV RIILFHUV GLUHFWRUV

   HPSOR\HHV DJHQWV DWWRUQH\V UHSUHVHQWDWLYHV DQ\ SDVW RU FXUUHQW LQYHVWRUV RU SHUVRQV ZLWK DQ

   LQWHUHVW LQ &%9 ,QF DQG DOO RWKHU SHUVRQV DFWLQJ RU SXUSRUWLQJ WR DFW RU WKDW KDYH DFWHG RU

   SXUSRUWHGWRKDYHDFWHGRQEHKDOIRIDQ\RIWKHIRUHJRLQJ

                 7KHWHUP³=%DQG´PHDQV=%DQG,QFDQGDQ\DQGDOOSUHGHFHVVRUVVXFFHVVRUV

   GLYLVLRQV VXEVLGLDULHV RU MRLQW YHQWXUHV WKHUHRI WRJHWKHU ZLWK DQ\ DQG DOO SDUHQW RU DIILOLDWHG

   FRPSDQLHV RU FRUSRUDWLRQV DQG DOO SDVW RU SUHVHQW PHPEHUV VKDUHKROGHUV RIILFHUV GLUHFWRUV

   HPSOR\HHV DJHQWV DWWRUQH\V UHSUHVHQWDWLYHV DQ\ SDVW RU FXUUHQW LQYHVWRUV RU SHUVRQV ZLWK DQ

   LQWHUHVWLQ =%DQG ,QF DQG DOO RWKHU SHUVRQV DFWLQJ RU SXUSRUWLQJWR DFW RU WKDW KDYH DFWHG RU

   SXUSRUWHGWRKDYHDFWHGRQEHKDOIRIDQ\RIWKHIRUHJRLQJ

                 7KHWHUP³&KDQERQG,QYHQWRUV´PHDQVWKHQDPHGLQYHQWRUVOLVWHGRQWKHIDFHRI

   WKH&KDQERQGSDWHQWV7KLVLQFOXGHV(DUO+HQQHQKRHIHU5LFKDUG6Q\GHUDQG5REHUW6WLQH

                 7KH WHUP ³8QLILHG2QOLQH´ PHDQV 8QLILHG2QOLQH ,QF DQG DQ\ DQG DOO

   SUHGHFHVVRUVVXFFHVVRUVGLYLVLRQVVXEVLGLDULHVRUMRLQWYHQWXUHVWKHUHRIWRJHWKHUZLWKDQ\DQG

   DOOSDUHQWRUDIILOLDWHGFRPSDQLHVRUFRUSRUDWLRQVDQGDOOSDVWRUSUHVHQWPHPEHUVVKDUHKROGHUV

   RIILFHUVGLUHFWRUVHPSOR\HHVDJHQWVDWWRUQH\VUHSUHVHQWDWLYHVDQ\SDVWRUFXUUHQWLQYHVWRUVRU

   SHUVRQVZLWKDQLQWHUHVWLQ8QLILHG2QOLQH,QFDQGDOORWKHUSHUVRQVDFWLQJRUSXUSRUWLQJWRDFW

   RUWKDWKDYHDFWHGRUSXUSRUWHGWRKDYHDFWHGRQEHKDOIRIDQ\RIWKHIRUHJRLQJ

                 7KH WHUP ³&KDQERQG 3DWHQWV´ PHDQV 86 3DWHQW 1RV  

   DQGLQFOXGLQJDQ\DSSOLFDWLRQWKDWOHGWRLWVLVVXDQFHDQGDQ\

   UHH[DPLQDWLRQVWKHUHRI

                 7KHWHUP³'HIHQGDQWV´PHDQV$WODQWLF%URDGEDQG*URXS//& ³$%%´ %ULJKW

   +RXVH 1HWZRUNV //& ³%ULJKW +RXVH´  &DEOH 2QH ,QF ³&DEOH 2QH´  &DEOHYLVLRQ 6\VWHPV



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   &RUSRUDWLRQDQG&6&+ROGLQJV//& ³&DEOHYLVLRQ´ &HTXHO&RPPXQLFDWLRQV+ROGLQJV,//&

   DQG&HTXHO&RPPXQLFDWLRQV//&GED6XGGHQOLQN ³6XGGHQOLQN´ &KDUWHU&RPPXQLFDWLRQV

   ,QF ³&KDUWHU´ &RPFDVW&RUSRUDWLRQDQG&RPFDVW&DEOH&RPPXQLFDWLRQV//& ³&RPFDVW´ 

   &R[ &RPPXQLFDWLRQV ,QF ³&R[´  0HGLDFRP &RPPXQLFDWLRQV &RUSRUDWLRQ ³0HGLDFRP´ 

   5&1 7HOHFRP 6HUYLFHV //& ³5&1´  7LPH :DUQHU &DEOH ,QF DQG 7LPH :DUQHU &DEOH

   (QWHUSULVHV //& ³7:&´  :DYHGLYLVLRQ +ROGLQJV ,QF ³:DYH´  DQG :LGHRSHQ :HVW

   )LQDQFH//& ³:2:´ 

               7KH WHUP ³,QVWDQW /LWLJDWLRQV´ PHDQV WKH OLWLJDWLRQV LQLWLDWHG E\ &KDQERQG

   FXUUHQWO\ SHQGLQJ LQ WKH 'LVWULFW RI 'HODZDUH DJDLQVW HDFK RI WKH 'HIHQGDQWV  7R UHVROYH DQ\

   GRXEWWKHVHLQFOXGHFDVHQXPEHUVFY5*$WKURXJKFY5*$

               7KH WHUP ³'2&6,6  6WDQGDUG´ VKDOO PHDQ WKH 'DWD 2YHU &DEOH 6HUYLFH

   ,QWHUIDFH6SHFLILFDWLRQYHUVLRQSXEOLVKHGE\&DEOH/DEV

               7KH WHUPV ³FRQFHUQLQJ´ ³UHODWH´ ³UHODWLQJ´ RU ³UHODWHG´ PHDQ LQ DQ\ ZD\

   GLUHFWO\ RU LQGLUHFWO\ LQ ZKROH RU SDUW UHODWLQJ WR FRQFHUQLQJ DOOXGLQJ WR UHIHUULQJ WR

   GLVFXVVLQJ PHQWLRQLQJ UHJDUGLQJ SHUWDLQLQJ WR GHVFULELQJ UHIOHFWLQJ FRQWDLQLQJ DQDO\]LQJ

   VWXG\LQJ UHSRUWLQJ RQ FRPPHQWLQJ RQ HYLGHQFLQJ FRQVWLWXWLQJ VHWWLQJ IRUWK FRQVLGHULQJ

   UHFRPPHQGLQJ PRGLI\LQJ DPHQGLQJ FRQILUPLQJ HQGRUVLQJ UHSUHVHQWLQJ VXSSRUWLQJ

   TXDOLI\LQJWHUPLQDWLQJUHYRNLQJUHIXWLQJXQGHUPLQLQJFDQFHOLQJFRQWUDGLFWLQJRUQHJDWLQJ

               7KHWHUP³GRFXPHQW´VKDOOKDYHWKHEURDGHVWPHDQLQJSRVVLEOHXQGHUWKH)HGHUDO

   5XOHVRI&LYLO3URFHGXUHDQGVKDOOLQFOXGHEXWQRWEHOLPLWHGWRWKHRULJLQDO RUDFRS\ZKHQWKH

   RULJLQDOLVQRWDYDLODEOH DQGHDFKQRQLGHQWLFDOFRS\ LQFOXGLQJWKRVHZKLFKDUHQRQLGHQWLFDOE\

   UHDVRQ RI WUDQVODWLRQV QRWDWLRQV RU PDUNLQJV  RU DQ\ DQG DOO RWKHU ZULWWHQ SULQWHG W\SHG

   SXQFKHGWDSHGILOPHGRUJUDSKLFPDWWHURUUHFRUGHGRUWDQJLEOHWKLQJRUZKDWHYHUGHVFULSWLRQ



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   KRZHYHU SURGXFHG RU UHSURGXFHG LQFOXGLQJ FRPSXWHUVWRUHG RU JHQHUDWHG GDWD WRJHWKHU ZLWK

   LQVWUXFWLRQV RU SURJUDPV QHFHVVDU\ WR VHDUFK DQG UHWULHYH VXFK GDWD DQG KDUG FRSLHV ZKHUH

   DYDLODEOHDQGUHWULHYDEOH DQGVKDOOLQFOXGHDOODWWDFKPHQWVWRDQGHQFORVXUHVZLWKDQ\UHTXHVWHG

   LWHP WR ZKLFK WKH\ DUH DWWDFKHG RU ZLWK ZKLFK WKH\ DUH HQFORVHG DQG HDFK GUDIW WKHUHRI  7KH

   WHUP ³GRFXPHQW´ VKDOO VSHFLILFDOO\ LQFOXGH DOO UHFRUGHG RU UHWULHYDEOH HOHFWURQLF GDWD RU

   FRPPXQLFDWLRQVVXFKDVHOHFWURQLFPDLO HPDLO DQGWKHOLNHDQGDOOWUDQVODWLRQVWKHUHRI

                 7KH WHUP ³FRPPXQLFDWLRQ´ VKDOO PHDQ DQ\ RUDO ZULWWHQ HOHFWURQLF RU RWKHU

   H[FKDQJH RI ZRUGV WKRXJKWV LQIRUPDWLRQ RU LGHDV WR DQRWKHU SHUVRQ RU HQWLW\ ZKHWKHU LQ

   SHUVRQLQDJURXSE\WHOHSKRQHE\OHWWHUE\7HOH[RUE\RWKHUSURFHVVHOHFWULFHOHFWURQLFRU

   RWKHUZLVH$OOVXFKFRPPXQLFDWLRQVLQZULWLQJVKDOOLQFOXGHZLWKRXWOLPLWDWLRQSULQWHGW\SHG

   KDQGZULWWHQRURWKHUUHDGDEOHGRFXPHQWVFRUUHVSRQGHQFHPHPRUDQGDUHSRUWVFRQWUDFWVGUDIWV

       ERWKLQLWLDODQGVXEVHTXHQW FRPSXWHUGLVFVRUWUDQVPLVVLRQVHPDLOVLQVWDQWPHVVDJHVWDSHRU

   YLGHRUHFRUGLQJVYRLFHPDLOVGLDULHVORJERRNVPLQXWHVQRWHVVWXGLHVVXUYH\VDQGIRUHFDVWV

   DQGDQ\DQGDOOFRSLHVWKHUHRI

                 7KHZRUGV³RU´³DQG´³DOO´³HYHU\´³DQ\´³HDFK´³RQHRUPRUH´³LQFOXGLQJ´

   DQG VLPLODU ZRUGV RI JXLGDQFH DUH LQWHQGHG PHUHO\ DV VXFK DQG VKRXOG QRW EH FRQVWUXHG DV

   ZRUGV RI OLPLWDWLRQ  7KH ZRUGV ³RU´ DQG ³DQG´ VKDOO LQFOXGH HDFK RWKHU ZKHQHYHU SRVVLEOH WR

   H[SDQGQRWUHVWULFWWKHVFRSHRIWKHUHTXHVW7KHZRUG³LQFOXGLQJ´VKDOOQRWEHXVHGWROLPLWDQ\

   JHQHUDO FDWHJRU\ RU GHVFULSWLRQ WKDW SUHFHGHV LW  7KH ZRUGV ³DOO´ ³HYHU\´ ³DQ\´ ³HDFK´ DQG

   ³RQHRUPRUH´VKDOOLQFOXGHHDFKRWKHUZKHQHYHUSRVVLEOHWRH[SDQGQRWUHVWULFWWKHVFRSHRIWKH

   UHTXHVW

                 5HIHUHQFHWRWKHVLQJXODULQDQ\RIWKHVHUHTXHVWVVKDOODOVRLQFOXGHDUHIHUHQFHWR

   WKHSOXUDODQGUHIHUHQFHWRWKHSOXUDODOVRVKDOOLQFOXGHDUHIHUHQFHWRWKHVLQJXODU



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                                              ,16758&7,216

                8QOHVVRWKHUZLVHVWDWHGLQDUHTXHVWWKHWLPHSHULRGFRYHUHGE\WKHFRPPDQGRI

   WKLV6XESRHQDLV2FWREHUWR3UHVHQW

                $OOUHTXHVWVIRU³GRFXPHQWV´LQFOXGHDUHTXHVWIRUDQ\³FRPPXQLFDWLRQV´VXFKDV

   OHWWHUVRUHPDLOV

                ,WLV\RXUGXW\LQDQVZHULQJWKHVHUHTXHVWVWRFRQGXFWDUHDVRQDEOHLQYHVWLJDWLRQ

   VRWKDW\RXGLVFORVHDQGSURGXFHDOODYDLODEOHUHVSRQVLYHDQGQRQSULYLOHJHGGRFXPHQWV

                ,IDQ\UHTXHVWKHUHLQUHTXLUHVWKHSURGXFWLRQRIGRFXPHQWVWKDWDUHQRORQJHULQ

   \RXUDFWXDORUFRQVWUXFWLYHSRVVHVVLRQFXVWRG\RUFRQWURORUZKLFKKDYHEHHQGHVWUR\HGRUORVW

   WKHQLQOLHXRISURGXFWLRQ\RXVKDOOVWDWHRULGHQWLI\WKHWLWOHRIWKHGRFXPHQWWKHDXWKRURIWKH

   GRFXPHQW HDFK SHUVRQ WR ZKRP RU E\ ZKRP D FRS\ RI WKH RULJLQDO RI WKH GRFXPHQW ZDV

   GHOLYHUHG IRUZDUGHG RU KDV EHHQ UHFHLYHG WKH GDWH RI WKH GRFXPHQW DQG WKH JHQHUDO VXEMHFW

   PDWWHU RI WKH GRFXPHQW ,Q WKH HYHQW \RX FODLP WKDW LQIRUPDWLRQ FRQWDLQHG RWKHU WKDQ LQ

   GRFXPHQWDU\IRUPLVQRORQJHULQ\RXUDFWXDORUFRQVWUXFWLYHSRVVHVVLRQFXVWRG\RUFRQWURORU

   KDVEHHQGHVWUR\HGRUORVW\RXVKDOOVWDWHRULGHQWLI\WKHQDWXUHRIWKHLQIRUPDWLRQWKHFUHDWRURI

   WKHLQIRUPDWLRQWKHSHUVRQWRZKRPWKHLQIRUPDWLRQZDVRUZDVWREHIRUZDUGHGGHOLYHUHGRU

   IRUZKRPLWZDVSUHSDUHGWKHGDWHRIWKHFUHDWLRQRIWKHLQIRUPDWLRQDQGWKHPDQQHULQZKLFK

   WKHLQIRUPDWLRQKDVEHHQPHPRULDOL]HGLIDWDOO

                ,QDQ\LQVWDQFHZKHUHGRFXPHQWVGDWDRULQIRUPDWLRQUHTXHVWHGKHUHLQLVVWRUHG

   RQDFRPSXWHUDFRPSXWHUKDUGGULYHDFRPSXWHUPDLQIUDPHFRPSXWHUEDFNXSWDSHRULQDQ\

   RWKHUHOHFWURQLFIRUPDW'HIHQGDQWVUHTXHVWWKDW\RXSURGXFHWKHGDWDLQIRUPDWLRQRUGRFXPHQWV

   RQ&'520FRPSXWHUGLVNRULQKDUGFRS\SDSHUIRUP)XUWKHU'HIHQGDQWVUHTXHVWWKDW\RX



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   SURGXFHDOOGRFXPHQWDWLRQRUSURJUDPVWKDWZRXOGDOORZ'HIHQGDQWVWRUXQUHDGYLHZSULQWRU

   RWKHUZLVHDFFHVVDQ\VXFKGLVNV&'520RURWKHUFRPSXWHULQIRUPDWLRQ

                 <RXDUHXQGHUDFRQWLQXLQJREOLJDWLRQWRUHVSRQGWRWKHUHTXHVWVVHWIRUWKKHUHLQ

   $FFRUGLQJO\ LI \RX VXEVHTXHQWO\ JDLQ DFWXDO RU FRQVWUXFWLYH SRVVHVVLRQ FXVWRG\RU FRQWURORI

   DQ\ GRFXPHQW FDOOHG IRU LQ WKH UHTXHVWV VHW IRUWK KHUHLQ WKDW KDV QRW EHHQ SURGXFHG WR

   'HIHQGDQWV \RX PXVW SURGXFH VXFK GRFXPHQW WR 'HIHQGDQWV DV VRRQ DV SRVVLEOH RU SURYLGH D

   ZULWWHQH[SODQDWLRQWR'HIHQGDQWVDVWRZK\\RXZLOOQRWSURGXFHWKHGRFXPHQW

                 7KHGRFXPHQWVVKDOOEHSURGXFHGDVWKH\DUHNHSWLQWKHXVXDOFRXUVHRIEXVLQHVV

   RUVKDOOEHRUJDQL]HGDQGODEHOHGWRFRUUHVSRQGZLWKWKHFDWHJRULHVLQWKHUHTXHVWV

                 7RWKHH[WHQWDGRFXPHQWLVFRQVLGHUHGFRQILGHQWLDOLQQDWXUH\RXPD\GHVLJQDWH

   LW LQ DFFRUGDQFH ZLWK WKH SURWHFWLYH RUGHU HQWHUHG LQ WKLV FDVH D FRS\ RI ZKLFK LV DWWDFKHG DV

   ([KLELW

                                      '2&80(175(48(676
                                                       
                 'RFXPHQWV UHODWHG WR DQ\ RI ,31DY¶V DQDO\VHV RU HYDOXDWLRQV RI WKH &KDQ%RQG

   3DWHQWVLQFOXGLQJQRWOLPLWHGWR'RFXPHQWVFUHDWHGE\RUIRUDQ\RI%LOO\&DUWHU 3UHVLGHQWRI

   LS&0//& RU<RX

                 'RFXPHQWVUHODWHGWR,31DY¶VYDOXDWLRQRIWKH&KDQ%RQGSDWHQWV

                 'RFXPHQWV UHODWHG WR ,31DY¶V DFTXLVLWLRQ RU SRWHQWLDO DFTXLVLWLRQ RI DQ\ OHJDO

   ULJKWWRWKH&KDQ%RQG3DWHQWVLQFOXGLQJEXWQRWOLPLWHGWRWKHDFTXLVLWLRQRUOLFHQVLQJRIWKH

   &KDQ%RQG3DWHQWV

                 'RFXPHQWV UHODWHG WR DQ\ LQYHVWLJDWLRQV RI WKH &KDQ%RQG 3DWHQWV UHODWHG WR

   FKDQQHOERQGLQJWKH'2&6,66WDQGDUGRUDQ\RI'HIHQGDQWV¶SURGXFWVRUVHUYLFHVXWLOL]LQJ

   WKH'2&6,66WDQGDUG



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                 'RFXPHQWVVXIILFLHQWWRVKRZDQ\UHODWLRQVKLSEHWZHHQ,31DYDQG8QLILHG2QOLQH

                 'RFXPHQWV VXIILFLHQW WR VKRZ DQ\ ILQDQFLDO UHODWLRQVKLS EHWZHHQ ,31DY DQG

   &KDQ%RQG&%9RU=%DQGLQFOXGLQJEXWQRWOLPLWHGWRDQ\ILQDQFLDOUHODWLRQVKLSUHJDUGLQJ

   WKH,QVWDQW/LWLJDWLRQV

                &RPPXQLFDWLRQVWRIURPRUEHWZHHQ,31DYSHUVRQQHOLQFOXGLQJEXWQRWOLPLWHG

   WR<RX%UDQGL$QGHUVRQ(ULFK6SDQJHQEHUJ8PHVK-DQL'HQLVH9DOHQ]XDOHDRU%LOO\&DUWHU

   UHJDUGLQJ&KDQ%RQG&%9=%DQGWKH&KDQ%RQG3DWHQWVRUWKH&KDQ%RQG,QYHQWRUV

                 'RFXPHQWV UHODWHG WR WKH DJUHHPHQW EHWZHHQ &KDQ%RQG DQG 8QLILHG
                                                                                         G 2QOLQH
                                                                                            2QOLQH

   DWWDFKHGDV([KLELWWRWKLV6XESRHQD
   DWWDFKHGDV([KLELWWRWKLV6XESRHQD

                'RFXPHQWV VXIILFLHQW WR H[SODLQ WKH GHFLVLRQ WR PDNH <RX WKH KROGHU RI WKH

   SURPLVVRU\QRWHUHIHUHQFHGLQ6FKHGXOHRI([KLELWWRWKLV6XESRHQD




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                                               uoip_ex102.htm
  EX-10.2 3 uoip_ex102.htm CHANBOND, LLC PURCHASE AGREEMENT




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                                               uoip_ex102.htm




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                                               uoip_ex102.htm




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                                               uoip_ex102.htm




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                                               uoip_ex102.htm




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                                               uoip_ex102.htm




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                                               uoip_ex102.htm




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CaseCase
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CaseCase
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CaseCase
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                                                                                  32608
CaseCase
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                            Document 29 Filed
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                                                                                  32609
CaseCase
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CaseCase
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CaseCase
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CaseCase
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                                                                       PageID#:#:312
                                                                                  32613
CaseCase
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                           Document 29 Filed
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                           Document 29 Filed
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   Case                 Document
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                                                                 40 PageID      32622
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   Case                 Document
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   Case                 Document
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CaseCase
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                                  TAB 4
   Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 113 of 191 PageID #: 32647
$2$ 5HY 6XESRHQDWR7HVWLI\DWD'HSRVLWLRQLQD&LYLO$FWLRQ


                                              81,7(' 67$7(6 ',675,&7 &2857
                                                                                     IRUWKH
                                                                BBBBBBBBBB'LVWULFWRIBBBBBBBBBB
                                                                      District of Delaware

                             &KDQERQG //&
                                    Plaintiff
                                        Y
     $WODQWLF %URDGEDQG *URXS //& %ULJKW +RXVH 1HWZRUNV //& &DEOH 2QH ,QF                &LYLO$FWLRQ1R      &$ 1RV  
 &DEOHYLVLRQ 6\VWHPV &RUS &6& +ROGLQJV //& &HTXHO &RPPXQLFDWLRQV //& &HTXHO                                       
      &RPPXQLFDWLRQV +ROGLQJV , //& GED 6XGGHQOLQN &RPPXQLFDWLRQV &KDUWHU
   &RPPXQLFDWLRQV ,QF &RPFDVW &RUS &RPFDVW &DEOH &RPPXQLFDWLRQV //& &R[                                          
 &RPPXQLFDWLRQV ,QF 0HGLDFRP &RPPXQLFDWLRQV &RUS 5&1 7HOHFRP 6HUYLFHV //&                                       5*$
 7LPH :DUQHU &DEOH ,QF 7LPH :DUQHU &DEOH (QWHUSULVHV //& :DYH'LYLVLRQ +ROGLQJV
                                   Defendant
                       //& DQG :LGH2SHQ    :HVW )LQDQFH //&


                                  68%32(1$727(67,)<$7$'(326,7,21,1$&,9,/$&7,21

 7R                                                     'HLUGUH /HDQH
                 FR 5REHUW :KLWPDQ 0LVKFRQ 'H 5H\D 1HZ <RUN //3  3DUN $YHQXH WK )ORRU 1HZ <RUN 1< 
                                                                (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:   <28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWGHVLJQDWHRQHRUPRUHRIILFHUVGLUHFWRUV
RUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXWWKHIROORZLQJPDWWHUVRU
WKRVHVHWIRUWKLQDQDWWDFKPHQW


 3ODFH :LQVWRQ         6WUDZQ //3                                                              'DWHDQG7LPH
              1 +DUZRRG 6W WK )O                                                                          DP
             'DOODV 7; 

            7KHGHSRVLWLRQZLOOEHUHFRUGHGE\WKLVPHWKRG                            DXGLRYLVXDO DQG VWHQRJUDSKLF PHDQV

       u Production:<RXRU\RXUUHSUHVHQWDWLYHVPXVWDOVREULQJZLWK\RXWRWKHGHSRVLWLRQWKHIROORZLQJGRFXPHQWV
         HOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWVDQGPXVWSHUPLWLQVSHFWLRQFRS\LQJWHVWLQJRUVDPSOLQJRIWKH
         PDWHULDO




       7KHIROORZLQJSURYLVLRQVRI)HG5&LY3DUHDWWDFKHG±5XOH F UHODWLQJWRWKHSODFHRIFRPSOLDQFH
5XOH G UHODWLQJWR\RXUSURWHFWLRQDVDSHUVRQVXEMHFWWRDVXESRHQDDQG5XOH H DQG J UHODWLQJWR\RXUGXW\WR
UHVSRQGWRWKLVVXESRHQDDQGWKHSRWHQWLDOFRQVHTXHQFHVRIQRWGRLQJVR

'DWH          
                                        CLERK OF COURT
                                                                                                  25
                                                                                                                         V $QXS . 0LVUD
                                                 Signature of Clerk or Deputy Clerk                                      Attorney’s signature

7KHQDPHDGGUHVVHPDLODGGUHVVDQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ(name of party)
DOO GHIHQGDQWV                                                          ZKRLVVXHVRUUHTXHVWVWKLVVXESRHQDDUH
$QXS . 0LVUD :LQVWRQ                6WUDZQ //3  3DUN $YHQXH 1HZ <RUN 1<    DPLVUD#ZLQVWRQFRP

                                1RWLFHWRWKHSHUVRQZKRLVVXHVRUUHTXHVWVWKLVVXESRHQD
,IWKLVVXESRHQDFRPPDQGVWKHSURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVEHIRUH
WULDODQRWLFHDQGDFRS\RIWKHVXESRHQDPXVWEHVHUYHGRQHDFKSDUW\LQWKLVFDVHEHIRUHLWLVVHUYHGRQWKHSHUVRQWR
ZKRPLWLVGLUHFWHG)HG5&LY3 D  
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$2$ 5HY 6XESRHQDWR7HVWLI\DWD'HSRVLWLRQLQD&LYLO$FWLRQ 3DJH

&LYLO$FWLRQ1R        &$ 1RV  


                                                      3522)2)6(59,&(
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          ,UHFHLYHGWKLVVXESRHQDIRU(name of individual and title, if any)
RQ (date)                       

          u ,VHUYHGWKHVXESRHQDE\GHOLYHULQJDFRS\WRWKHQDPHGLQGLYLGXDODVIROORZV


                                                                                      RQ (date)                     RU

          u ,UHWXUQHGWKHVXESRHQDXQH[HFXWHGEHFDXVH
                                                                                                                                  

          8QOHVVWKHVXESRHQDZDVLVVXHGRQEHKDOIRIWKH8QLWHG6WDWHVRURQHRILWVRIILFHUVRUDJHQWV,KDYHDOVR
          WHQGHUHGWRWKHZLWQHVVWKHIHHVIRURQHGD\¶VDWWHQGDQFHDQGWKHPLOHDJHDOORZHGE\ODZLQWKHDPRXQWRI
                                                   

0\IHHVDUH                                       IRUWUDYHODQG                      IRUVHUYLFHVIRUDWRWDORI      


          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                             Server’s signature



                                                                                           Printed name and title




                                                                                              Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
   Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 115 of 191 PageID #: 32649

$2$ 5HY 6XESRHQDWR7HVWLI\DWD'HSRVLWLRQLQD&LYLO$FWLRQ 3DJH

                              )HGHUDO5XOHRI&LYLO3URFHGXUH F  G  H DQG J  (IIHFWLYH
F 3ODFHRI&RPSOLDQFH                                                                    L GLVFORVLQJDWUDGHVHFUHWRURWKHUFRQILGHQWLDOUHVHDUFKGHYHORSPHQW
                                                                                    RUFRPPHUFLDOLQIRUPDWLRQRU
  For a Trial, Hearing, or Deposition. $VXESRHQDPD\FRPPDQGD                       LL GLVFORVLQJDQXQUHWDLQHGH[SHUW¶VRSLQLRQRULQIRUPDWLRQWKDWGRHV
SHUVRQWRDWWHQGDWULDOKHDULQJRUGHSRVLWLRQRQO\DVIROORZV                   QRWGHVFULEHVSHFLILFRFFXUUHQFHVLQGLVSXWHDQGUHVXOWVIURPWKHH[SHUW¶V
 $ ZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRU               VWXG\WKDWZDVQRWUHTXHVWHGE\DSDUW\
UHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQRU                                              & Specifying Conditions as an Alternative. ,QWKHFLUFXPVWDQFHV
 % ZLWKLQWKHVWDWHZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRUUHJXODUO\        GHVFULEHGLQ5XOH G  % WKHFRXUWPD\LQVWHDGRITXDVKLQJRU
WUDQVDFWVEXVLQHVVLQSHUVRQLIWKHSHUVRQ                                         PRGLI\LQJDVXESRHQDRUGHUDSSHDUDQFHRUSURGXFWLRQXQGHUVSHFLILHG
 L LVDSDUW\RUDSDUW\¶VRIILFHURU                                     FRQGLWLRQVLIWKHVHUYLQJSDUW\
 LL LVFRPPDQGHGWRDWWHQGDWULDODQGZRXOGQRWLQFXUVXEVWDQWLDO               L VKRZVDVXEVWDQWLDOQHHGIRUWKHWHVWLPRQ\RUPDWHULDOWKDWFDQQRWEH
H[SHQVH                                                                            RWKHUZLVHPHWZLWKRXWXQGXHKDUGVKLSDQG
                                                                                          LL HQVXUHVWKDWWKHVXESRHQDHGSHUVRQZLOOEHUHDVRQDEO\FRPSHQVDWHG
  For Other Discovery. $VXESRHQDPD\FRPPDQG
 $ SURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRU                H 'XWLHVLQ5HVSRQGLQJWRD6XESRHQD
WDQJLEOHWKLQJVDWDSODFHZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLV
HPSOR\HGRUUHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQDQG                              Producing Documents or Electronically Stored Information. 7KHVH
 % LQVSHFWLRQRISUHPLVHVDWWKHSUHPLVHVWREHLQVSHFWHG                     SURFHGXUHVDSSO\WRSURGXFLQJGRFXPHQWVRUHOHFWURQLFDOO\VWRUHG
                                                                                    LQIRUPDWLRQ
G 3URWHFWLQJD3HUVRQ6XEMHFWWRD6XESRHQD(QIRUFHPHQW                              $ Documents. $SHUVRQUHVSRQGLQJWRDVXESRHQDWRSURGXFHGRFXPHQWV
                                                                                    PXVWSURGXFHWKHPDVWKH\DUHNHSWLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRU
  Avoiding Undue Burden or Expense; Sanctions. $SDUW\RUDWWRUQH\              PXVWRUJDQL]HDQGODEHOWKHPWRFRUUHVSRQGWRWKHFDWHJRULHVLQWKHGHPDQG
UHVSRQVLEOHIRULVVXLQJDQGVHUYLQJDVXESRHQDPXVWWDNHUHDVRQDEOHVWHSV               % Form for Producing Electronically Stored Information Not Specified.
WRDYRLGLPSRVLQJXQGXHEXUGHQRUH[SHQVHRQDSHUVRQVXEMHFWWRWKH                ,IDVXESRHQDGRHVQRWVSHFLI\DIRUPIRUSURGXFLQJHOHFWURQLFDOO\VWRUHG
VXESRHQD7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPXVW              LQIRUPDWLRQWKHSHUVRQUHVSRQGLQJPXVWSURGXFHLWLQDIRUPRUIRUPVLQ
HQIRUFHWKLVGXW\DQGLPSRVHDQDSSURSULDWHVDQFWLRQ²ZKLFKPD\LQFOXGH              ZKLFKLWLVRUGLQDULO\PDLQWDLQHGRULQDUHDVRQDEO\XVDEOHIRUPRUIRUPV
ORVWHDUQLQJVDQGUHDVRQDEOHDWWRUQH\¶VIHHV²RQDSDUW\RUDWWRUQH\ZKR                 & Electronically Stored Information Produced in Only One Form. 7KH
IDLOVWRFRPSO\                                                                    SHUVRQUHVSRQGLQJQHHGQRWSURGXFHWKHVDPHHOHFWURQLFDOO\VWRUHG
                                                                                    LQIRUPDWLRQLQPRUHWKDQRQHIRUP
  Command to Produce Materials or Permit Inspection.                                ' Inaccessible Electronically Stored Information. 7KHSHUVRQ
    $ Appearance Not Required. $SHUVRQFRPPDQGHGWRSURGXFH                        UHVSRQGLQJQHHGQRWSURYLGHGLVFRYHU\RIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWR             IURPVRXUFHVWKDWWKHSHUVRQLGHQWLILHVDVQRWUHDVRQDEO\DFFHVVLEOHEHFDXVH
SHUPLWWKHLQVSHFWLRQRISUHPLVHVQHHGQRWDSSHDULQSHUVRQDWWKHSODFHRI        RIXQGXHEXUGHQRUFRVW2QPRWLRQWRFRPSHOGLVFRYHU\RUIRUDSURWHFWLYH
SURGXFWLRQRULQVSHFWLRQXQOHVVDOVRFRPPDQGHGWRDSSHDUIRUDGHSRVLWLRQ          RUGHUWKHSHUVRQUHVSRQGLQJPXVWVKRZWKDWWKHLQIRUPDWLRQLVQRW
KHDULQJRUWULDO                                                                  UHDVRQDEO\DFFHVVLEOHEHFDXVHRIXQGXHEXUGHQRUFRVW,IWKDWVKRZLQJLV
    % Objections. $SHUVRQFRPPDQGHGWRSURGXFHGRFXPHQWVRUWDQJLEOH               PDGHWKHFRXUWPD\QRQHWKHOHVVRUGHUGLVFRYHU\IURPVXFKVRXUFHVLIWKH
WKLQJVRUWRSHUPLWLQVSHFWLRQPD\VHUYHRQWKHSDUW\RUDWWRUQH\GHVLJQDWHG        UHTXHVWLQJSDUW\VKRZVJRRGFDXVHFRQVLGHULQJWKHOLPLWDWLRQVRI5XOH
LQWKHVXESRHQDDZULWWHQREMHFWLRQWRLQVSHFWLQJFRS\LQJWHVWLQJRU              E  & 7KHFRXUWPD\VSHFLI\FRQGLWLRQVIRUWKHGLVFRYHU\
VDPSOLQJDQ\RUDOORIWKHPDWHULDOVRUWRLQVSHFWLQJWKHSUHPLVHV²RUWR
SURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHIRUPRUIRUPVUHTXHVWHG           Claiming Privilege or Protection.
7KHREMHFWLRQPXVWEHVHUYHGEHIRUHWKHHDUOLHURIWKHWLPHVSHFLILHGIRU              $ Information Withheld. $SHUVRQZLWKKROGLQJVXESRHQDHGLQIRUPDWLRQ
FRPSOLDQFHRUGD\VDIWHUWKHVXESRHQDLVVHUYHG,IDQREMHFWLRQLVPDGH        XQGHUDFODLPWKDWLWLVSULYLOHJHGRUVXEMHFWWRSURWHFWLRQDVWULDOSUHSDUDWLRQ
WKHIROORZLQJUXOHVDSSO\                                                          PDWHULDOPXVW
       L $WDQ\WLPHRQQRWLFHWRWKHFRPPDQGHGSHUVRQWKHVHUYLQJSDUW\               L H[SUHVVO\PDNHWKHFODLPDQG
PD\PRYHWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGIRUDQ                   LL GHVFULEHWKHQDWXUHRIWKHZLWKKHOGGRFXPHQWVFRPPXQLFDWLRQVRU
RUGHUFRPSHOOLQJSURGXFWLRQRULQVSHFWLRQ                                          WDQJLEOHWKLQJVLQDPDQQHUWKDWZLWKRXWUHYHDOLQJLQIRUPDWLRQLWVHOI
     LL 7KHVHDFWVPD\EHUHTXLUHGRQO\DVGLUHFWHGLQWKHRUGHUDQGWKH        SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
RUGHUPXVWSURWHFWDSHUVRQZKRLVQHLWKHUDSDUW\QRUDSDUW\¶VRIILFHUIURP          % Information Produced. ,ILQIRUPDWLRQSURGXFHGLQUHVSRQVHWRD
VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH                                      VXESRHQDLVVXEMHFWWRDFODLPRISULYLOHJHRURISURWHFWLRQDV
                                                                                    WULDOSUHSDUDWLRQPDWHULDOWKHSHUVRQPDNLQJWKHFODLPPD\QRWLI\DQ\SDUW\
  Quashing or Modifying a Subpoena.                                             WKDWUHFHLYHGWKHLQIRUPDWLRQRIWKHFODLPDQGWKHEDVLVIRULW$IWHUEHLQJ
                                                                                    QRWLILHGDSDUW\PXVWSURPSWO\UHWXUQVHTXHVWHURUGHVWUR\WKHVSHFLILHG
  $ When Required. 2QWLPHO\PRWLRQWKHFRXUWIRUWKHGLVWULFWZKHUH               LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW                        XQWLOWKHFODLPLVUHVROYHGPXVWWDNHUHDVRQDEOHVWHSVWRUHWULHYHWKH
                                                                                    LQIRUPDWLRQLIWKHSDUW\GLVFORVHGLWEHIRUHEHLQJQRWLILHGDQGPD\SURPSWO\
 L IDLOVWRDOORZDUHDVRQDEOHWLPHWRFRPSO\                             SUHVHQWWKHLQIRUPDWLRQXQGHUVHDOWRWKHFRXUWIRUWKHGLVWULFWZKHUH
         LL UHTXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWV             FRPSOLDQFHLVUHTXLUHGIRUDGHWHUPLQDWLRQRIWKHFODLP7KHSHUVRQZKR
VSHFLILHGLQ5XOH F                                                             SURGXFHGWKHLQIRUPDWLRQPXVWSUHVHUYHWKHLQIRUPDWLRQXQWLOWKHFODLPLV
         LLL UHTXLUHVGLVFORVXUHRISULYLOHJHGRURWKHUSURWHFWHGPDWWHULIQR    UHVROYHG
H[FHSWLRQRUZDLYHUDSSOLHVRU
         LY VXEMHFWVDSHUVRQWRXQGXHEXUGHQ                                      J &RQWHPSW
    % When Permitted. 7RSURWHFWDSHUVRQVXEMHFWWRRUDIIHFWHGE\D               7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG²DQGDOVRDIWHUD
VXESRHQDWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPD\RQ           PRWLRQLVWUDQVIHUUHGWKHLVVXLQJFRXUW²PD\KROGLQFRQWHPSWDSHUVRQ
PRWLRQTXDVKRUPRGLI\WKHVXESRHQDLILWUHTXLUHV                                ZKRKDYLQJEHHQVHUYHGIDLOVZLWKRXWDGHTXDWHH[FXVHWRREH\WKH
                                                                                    VXESRHQDRUDQRUGHUUHODWHGWRLW


                                          )RUDFFHVVWRVXESRHQDPDWHULDOVVHH)HG5&LY3 D &RPPLWWHH1RWH  
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                                   EXHIBIT K
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-842 (RGA)
                                         )
   ATLANTIC BROADBAND                    )
   FINANCE, LLC,                         )
                                         )
                       Defendant.        )

   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-843 (RGA)
                                         )
   BRIGHT HOUSE NETWORKS, LLC,           )
                                         )
                       Defendant.        )

   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-844 (RGA)
                                         )
   CABLE ONE, INC.,                      )
                                         )
                       Defendant.        )

   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-845 (RGA)
                                         )
   CABLEVISION SYSTEMS                   )
   CORPORATION and                       )
   CSC HOLDINGS, LLC,                    )
                                         )
                       Defendants.       )
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   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-846 (RGA)
                                         )
   CEQUEL COMMUNICATIONS, LLC and        )
   CEQUEL COMMUNICATIONS                 )
   HOLDINGS I, LLC d/b/a SUDDENLINK      )
   COMMUNICATIONS,                       )
                                         )
                       Defendants.       )

   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
                        v.               )   C.A. No. 15-847 (RGA)
                                         )
   CHARTER COMMUNICATIONS, INC.,         )
                                         )
                       Defendant.        )

   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-848 (RGA)
                                         )
   COMCAST CORPORATION and               )
   COMCAST CABLE COMMUNICATIONS,         )
   LLC,                                  )
                                         )
                       Defendants.       )

   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-849 (RGA)
                                         )
   COX COMMUNICATIONS, INC.,             )
                                         )
                       Defendant.        )
Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 119 of 191 PageID #: 32653




   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-850 (RGA)
                                         )
   MEDIACOM COMMUNICATIONS               )
   CORPORATION,                          )
                                         )
                       Defendant.        )

   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-851 (RGA)
                                         )
   RCN TELECOM SERVICES, LLC,            )
                                         )
                       Defendant.        )

   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-852 (RGA)
                                         )
   TIME WARNER CABLE INC. and            )
   TIME WARNER CABLE ENTERPRISES         )
   LLC,                                  )
                                         )
                       Defendants.       )

   CHANBOND, LLC,                        )
                                         )
                        Plaintiff,       )
                                         )
               v.                        )   C.A. No. 15-853 (RGA)
                                         )
   WAVEDIVISION HOLDINGS, LLC,           )
                                         )
                       Defendant.        )
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   CHANBOND, LLC,                                 )
                                                  )
                            Plaintiff,            )
                                                  )
                  v.                              )    C.A. No. 15-854 (RGA)
                                                  )
   WIDEOPEN WEST FINANCE, LLC,                    )
                                                  )
                            Defendant.            )


                                     NOTICE OF SUBPOENAS


          PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

   Procedure, defendants will serve the subpoenas attached hereto as Exhibits A–F on

   UnifiedOnline, Inc., Z-Band, Inc., and CBV, Inc., respectively.

                                                      MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                                      /s/ Jennifer Ying
                                                      Jack B. Blumenfeld (#1014)
                                                      Jennifer Ying (#5550)
   OF COUNSEL:                                        1201 North Market Street
                                                      P.O. Box 1347
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   May 17, 2016
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on May 17, 2016, I caused the foregoing to be electronically filed

   with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

   registered participants.

          I further certify that I caused copies of the foregoing document to be served on May 17,

   2016, upon the following in the manner indicated:

   Richard D. Kirk, Esquire                                             VIA ELECTRONIC MAIL
   Stephen B. Brauerman, Esquire
   Vanessa R. Tiradentes, Esquire
   Sara E. Bussiere, Esquire
   BAYARD, P.A.
   222 Delaware Avenue, Suite 900
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   Attorneys for Plaintiff

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   Robert Whitman, Esquire
   John F. Petrsoric, Esquire
   Michael S. DeVincenzo, Esquire
   MISHCON DE REYA NEW YORK LLP
   2 Park Avenue, 20th Floor
   New York, NY 10016
   Attorneys for Plaintiff




                                               /s/ Jennifer Ying
                                               Jennifer Ying (#5550)
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                             EXHIBIT B
           Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 123 of 191 PageID #: 32657
         AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                      DistrictDistrict
                                                                 __________    of Delaware
                                                                                       of __________
                               ChanBond, LLC                                              )
                                         Plaintiff                                        )
                                             v.
 Atlantic Broadband Group, LLC, Bright House Networks, LLC, Cable One Inc., Cablevision
Systems Corp., CSC Holdings, LLC, Cequel Communications, LLC, Cequel Communications       )     Civil Action No.         C.A. Nos.15-842; 15-843; 15-844;
                                                                                                                         15-845; 15-846; 15-847; 15-848;
Holdings I, LLC d/b/a Suddenlink Communications, Charter Communications, Inc., Comcast    )                              15-849; 15-850; 15-851; 15-852;
    Corp., Comcast Cable Communications, LLC, Cox Communications, Inc., Mediacom
Communications Corp., RCN Telecom Services, LLC, Time Warner Cable Inc., Time Warner      )                              15-853; 15-854 (RGA)
  Cable Enterprises LLC, WaveDivision Holdings, LLC, and WideOpen West Finance, LLC
                                         Defendant                                        )

                                 SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                   OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

         To:                                  UnifiedOnline, Inc., 4126 Leonard Drive, Fairfax, VA 22030
                        c/o John Petrsoric, Michson De Raya New York LLP, 2 Park Avenue, 20th Floor, New York, NY 10016
                                                                 (Name of person to whom this subpoena is directed)

               ✔
               u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
         documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
         material: See Attachment A.



          Place: Winston & Strawn LLP                                                            Date and Time:
                    1700 K Street, N.W.                                                                               05/31/2016 9:00 am
                    Washington, D.C. 20006

              u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
         other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
         may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

          Place:                                                                                Date and Time:



                The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
         Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
         respond to this subpoena and the potential consequences of not doing so.

         Date:        05/17/2016

                                            CLERK OF COURT
                                                                                                     OR
                                                                                                                              /s/ Anup K. Misra
                                                     Signature of Clerk or Deputy Clerk                                        Attorney’s signature


        The name, address, e-mail address, and telephone number of the attorney representing (name of party)
       all defendants                                                           , who issues or requests this subpoena, are:
         Anup K. Misra, Winston & Strawn LLP, 200 Park Avenue, New York, NY 10166; (212) 294-6697, amisra@winston.com

                                        Notice to the person who issues or requests this subpoena
         If this subpoena commands the production of documents, electronically stored information, or tangible things or the
         inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
         it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
  Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 124 of 191 PageID #: 32658
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.        C.A. Nos.15-842; 15-843; 15-844; 15-845; 15-846; 15-847; 15-848; 15-849; 15-850; 15-851; 15-852; 15-853; 15-854
                        (RGA)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
  Case 1:15-cv-00842-RGA Document 528-1 Filed 10/15/20 Page 125 of 191 PageID #: 32659
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          ATTACHMENT A

                                            DEFINITIONS

          The following definitions are applicable to terms employed in responding to this

   Subpoena Duces Tecum (“Subpoena”) for the production of documents:

          1.      “UnifiedOnline,” “You,” or “Yours” mean UnifiedOnline, Inc., and any and all

   predecessors, successors, divisions, subsidiaries, or joint ventures thereof, together with any and

   all parent or affiliated companies or corporations, and all past or present members, shareholders,

   officers, directors, employees, agents, attorneys, representatives, any past or current investors or

   persons with an interest in UnifiedOnline, Inc., and all other persons acting or purporting to act

   or that have acted or purported to have acted on behalf of any of the foregoing.

          2.      “CBV” means CBV, Inc., and any and all predecessors, successors, divisions,

   subsidiaries, or joint ventures thereof, together with any and all parent or affiliated companies or

   corporations, and all past or present members, shareholders, officers, directors, employees,

   agents, attorneys, representatives, any past or current investors or persons with an interest in

   CBV, Inc., and all other persons acting or purporting to act or that have acted or purported to

   have acted on behalf of any of the foregoing.

          3.      The term “Z-Band” means Z-Band, Inc., and any and all predecessors, successors,

   divisions, subsidiaries, or joint ventures thereof, together with any and all parent or affiliated

   companies or corporations, and all past or present members, shareholders, officers, directors,

   employees, agents, attorneys, representatives, any past or current investors or persons with an

   interest in Z-Band, Inc., and all other persons acting or purporting to act or that have acted or

   purported to have acted on behalf of any of the foregoing.




                                                    1
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          4.      The term “Chanbond,” means ChanBond, LLC, and any and all predecessors,

   successors, divisions, subsidiaries, or joint ventures thereof, together with any and all parent or

   affiliated companies or corporations, including at least CBV and Z-Band, and all past or present

   members, shareholders, officers, directors, employees, agents, attorneys, representatives, any

   past or current investors or persons with an interest in Chanbond, LLC, the Asserted Patents, or

   the Related Patents, including at least UnifiedOnline, and all other persons acting or purporting

   to act or that have acted or purported to have acted on behalf of any of the foregoing.

          5.      The term “Whitaker Corp.” means The Whitaker Corporation, and any and all

   predecessors, successors, divisions, subsidiaries, or joint ventures thereof, together with any and

   all parent or affiliated companies or corporations, and all past or present members, shareholders,

   officers, directors, employees, agents, attorneys, representatives, any past or current investors or

   persons with an interest in The Whitaker Corporation, and all other persons acting or purporting

   to act or that have acted or purported to have acted on behalf of any of the foregoing.

          6.      The terms “Chanbond Patents,” mean U.S. Patent Nos. 7,346,918, 7,941,822,

   8,341,679, 8,984,565, and 9,015,774, including any application that led to issuance of any of the

   aforementioned patents, or any reexaminations thereof.

          7.      The term “Related Patents” means any and all patents that relate back to a

   common application as any Chanbond Patent or Whitaker Patent, including any provisional or

   non-provisional applications, continuations, continuations-in-part, divisions, interferences,

   reexaminations, reissues, parents, foreign counterpart applications, as well as any other

   applications disclosing, describing or claiming any invention disclosed, described or claimed in

   any Chanbond Patent or Whitaker Patent, or claiming the benefit of the filing date of any




                                                    2
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   application whose benefit is claimed in any Chanbond Patent or Whitaker Patent, whether or not

   abandoned and whether or not issued.

          8.      The “Chanbond Inventors” means the named inventors listed on the face of the

   Chanbond Patents. This includes Earl Hennenhoefer, Richard Snyder, Robert Stine.

          9.      “Whitaker Patents” means U.S. Patent No. 5,901,340 and U.S. Patent No.

   5,875,386, including any application that led to issuance of any of the aforementioned patents, or

   any reexaminations thereof.

          10.     “Whitaker Inventors” mean Steven Lee Flickinger, James Ray Fetterolf, Sr.,

   Joseph P. Preschutti, Terry P. Bowen, Jeffrey Legg, and David Koller.

          11.     The term “Instant Litigations” means the litigations initiated by Chanbond

   currently pending in the District of Delaware against each of the Defendants. To resolve any

   doubt, these include case numbers 1:15-cv-00842-RGA through 1:15-cv-00854-RGA.

          12.     The term “Channel Bonding” shall have the same meaning as used by Chanbond

   in Chanbond’s complaints in this matter, and in Chanbond’s infringement contentions in this

   matter. See, e.g., 1:15-cv-00842, D.I. 1 (Complaint) at ¶ 13.

          13.     The “DOCSIS Standard” shall mean the Data Over Cable Service Interface

   Specification published by CableLabs. To resolve any doubt, this term encompasses all versions

   of the DOCSIS Standard, including DOCSIS 1.0, DOCSIS 1.1, DOCSIS 2.0, DOCSIS 3.0, and

   DOCSIS 3.1.

          14.     The “DOCSIS 3.0 Standard” shall mean the Data Over Cable Service Interface

   Specification published by CableLabs

          15.     The term “Standard Setting Organization” means any organization responsible for

   developing technical standards or technical documentation for use in industry. For avoidance of




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   doubt, CableLabs, the Institute for Electrical and Electronics Engineers (“IEEE”),

   Telecommunications Industry Association (“TIA”), and Electronic Industries Alliance (“EIA”)

   are all Standard Setting Organizations.

          16.     The term “Prior Art” refers to art under 35 U.S.C. §§ 102 and 103 and includes,

   by way of example and without limitation, printed publications, patents, disclosures, prior

   inventions, admissions, prior public uses, prior offers for sale, or sales of actual products.

          17.     The terms “concerning,” “relate,” “relating,” or “related” mean in any way,

   directly or indirectly, in whole or part, relating to, concerning, alluding to, referring to,

   discussing, mentioning, regarding, pertaining to, describing, reflecting, containing, analyzing,

   studying, reporting on, commenting on, evidencing, constituting, setting forth, considering,

   recommending, modifying, amending, confirming, endorsing, representing, supporting,

   qualifying, terminating, revoking, refuting, undermining, canceling, contradicting, or negating.

          18.     The term “document” shall have the broadest meaning possible under the Federal

   Rules of Civil Procedure and shall include, but not be limited to, the original (or a copy when the

   original is not available) and each non-identical copy (including those which are non-identical by

   reason of translations, notations, or markings) or any and all other written, printed, typed,

   punched, taped, filmed, or graphic matter or recorded or tangible thing, or whatever description,

   however produced or reproduced (including computer-stored or generated data, together with

   instructions or programs necessary to search and retrieve such data and hard copies where

   available and retrievable), and shall include all attachments to and enclosures with any requested

   item to which they are attached or with which they are enclosed, and each draft thereof. The

   term “document” shall specifically include all recorded or retrievable electronic data or

   communications such as electronic mail (e-mail) and the like and all translations thereof.




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         a.    “Communication” shall mean any oral, written, electronic, or other exchange of

               words, thoughts, information, or ideas to another person or entity, whether in

               person, in a group, by telephone, by letter, by Telex, or by other process, electric,

               electronic, or otherwise.    All such communications in writing shall include,

               without limitation, printed, typed, handwritten, or other readable documents,

               correspondence, memoranda, reports, contracts, drafts (both initial and

               subsequent), computer discs or transmissions, e-mails, instant messages, tape or

               video recordings, voicemails, diaries, log books, minutes, notes, studies, surveys

               and forecasts, and any and all copies thereof.

         b.    The words “or,” “and,” “all,” “every,” “any,” “each,” “one or more,” “including,”

               and similar words of guidance, are intended merely as such, and should not be

               construed as words of limitation. The words “or” and “and” shall include each

               other whenever possible to expand, not restrict, the scope of the request. The

               word “including” shall not be used to limit any general category or description

               that precedes it. The words “all,” “every,” “any,” “each,” and “one or more” shall

               include each other whenever possible to expand, not restrict, the scope of the

               request.

         c.    Reference to the singular in any of these requests shall also include a reference to

               the plural, and reference to the plural also shall include a reference to the singular.




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                                           INSTRUCTIONS

           1.      Unless otherwise stated in a request, the time period covered by the command of

   this Subpoena is October 25, 1994 to Present.

           2.      All requests for “documents,” include a request for any “communications,” such

   as letters or e-mails.

           3.      It is your duty in answering these requests to conduct a reasonable investigation

   so that you disclose and produce all available responsive and non-privileged documents.

           4.      If any request herein requires the production of documents that are no longer in

   your actual or constructive possession, custody, or control or which have been destroyed or lost,

   then in lieu of production, you shall state or identify the title of the document, the author of the

   document, each person to whom or by whom a copy of the original of the document was

   delivered, forwarded, or has been received, the date of the document, and the general subject

   matter of the document. In the event you claim that information contained other than in

   documentary form is no longer in your actual or constructive possession, custody, or control or

   has been destroyed or lost, you shall state or identify the nature of the information, the creator of

   the information, the person to whom the information was or was to be forwarded, delivered or

   for whom it was prepared, the date of the creation of the information, and the manner in which

   the information has been memorialized, if at all.

           5.      In any instance where documents, data, or information requested herein is stored

   on a computer, a computer hard drive, a computer mainframe, computer back-up tape, or in any

   other electronic format, Defendants request that you produce the data, information, or documents

   on CD ROM, computer disk, or in hard copy paper form. Further, Defendants request that you




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   produce all documentation or programs that would allow Defendants to run, read, view, print, or

   otherwise access any such disks, CD ROM, or other computer information.

          6.      You are under a continuing obligation to respond to the requests set forth herein.

   Accordingly, if you subsequently gain actual or constructive possession, custody, or control of

   any document called for in the requests set forth herein that has not been produced to

   Defendants, you must produce such document to Defendants as soon as possible or provide a

   written explanation to Defendants as to why you will not produce the document.

          7.      The documents shall be produced as they are kept in the usual course of business

   or shall be organized and labeled to correspond with the categories in the requests.

                                      DOCUMENT REQUESTS

          1.      All documents or communications regarding the Chanbond Patents, the Whitaker

   Patents, and/or the Related Patents.

          2.      All documents or communications related to the agreement between Chanbond

   and UnifiedOnline, as discussed in the agreement attached as exhibit Ex. 2 to this Subpoena.

          3.      All notes and minutes from UnifiedOnline’s meetings where the agreement

   between Chanbond and Unified Online (attached in Ex. 2 to this Subpoena) was discussed.

          4.      All documents or communications related to any negotiations between

   UnifiedOnline and Chanbond.

          5.      All documents or communications related to any valuation of Chanbond.

          6.      All communications between Unified Online and any of the following parties:

                  (i)     Z-Band;

                  (ii)    any Chanbond Inventor;

                  (iii)   Whitaker Corp.;




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                  (iv)     any Whitaker Inventor;

                  (v)      C.W. Smith;

                  (vi)     any business associate of the Chanbond Inventors that communicated with

                           any Defendant (see, e.g., Ex. 1 at ¶ 28);

                  (vii)    any Defendant; or

                  (viii)   Bentham IMF.

          7.      All documents related to any negotiations or agreements between UnifiedOnline

   and any of the following parties:

                  (i)      Z-Band;

                  (ii)     any Chanbond Inventor;

                  (iii)    Whitaker Corp.;

                  (iv)     any Whitaker Inventor;

                  (v)      C.W. Smith.;

                  (vi)     any business associate of the Chanbond Inventors that communicated with

                           any Defendant (see, e.g., Ex. 1 at ¶ 28);

                  (vii)    any Defendant; or

                  (viii)   Bentham IMF.

          8.      All documents and communications related to UnifiedOnline’s decision to

   purchase Chanbond.

          9.      All documents related to any interest held by UnifiedOnline, in either (a) the

   Instant Litigations, (b) the Chanbond Patents, (c) Chanbond, (d) Whitaker, or (e) the Whitaker

   Patents.




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          10.     All documents concerning the acquisition, ownership, or assignment of any

   Chanbond Patent, Whitaker Patent, or any Related Patents.

          11.     All documents related to any valuation of any Chanbond Patent, Whitaker Patent,

   or any Related Patents.

          12.     All documents concerning any agreement related to any Chanbond Patent,

   Whitaker Patent, or any Related Patents.

          13.     All documents concerning any negotiations for any assignment, license, contract,

   covenant, authorization, agreement, stipulation, settlement or any other event relating to any

   legal right related to any Chanbond Patent, Whitaker Patent, or Related Patent.

          14.     All documents concerning participation by UnifiedOnline in any Standard Setting

   Organization, industry organization, or trade group.

          15.     All notes and minutes from UnifiedOnline’s meetings where any of the

   Defendant’s products, services, apparatuses, devices, systems, method or processes related to

   Channel Bonding, the DOCSIS Standard, or DOCSIS 3.0 were mentioned or discussed.

          16.     All documents related to Prior Art to any Chanbond Patents known to

   UnifiedOnline and the date and circumstances pursuant to which UnifiedOnline first learned of

   each piece of Prior Art.

          17.     All documents and communications regarding the corporate or business

   relationship between UnifiedOnline and Chanbond.

          18.     All document and communications regarding Chanbond’s sale, assignment,

   transfer, lease or license of any of their rights, assets, facilities, operations or services to

   UnifiedOnline.




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          19.     All documents reflecting any financial information, including, but not limited to

   revenue or profits, derived from the sale or license of any product embodying any technical

   matter disclosed in, or any invention claimed in, any Chanbond Patent, Whitaker Patent, or

   Related Patent.

          20.     All documents, relating to any of UnifiedOnline’s investigations, tests, studies,

   examinations, or analyses of any Defendant’s products, services, apparatuses, devices, systems,

   methods, or processes that allegedly infringe any claim of the Chanbond Patents, the Whitaker

   Patents, or Related Patents.

          21.     Documents sufficient to identify all current employees of UnifiedOnline and/or

   the organizational structure of Unified Online.

          22.     Documents sufficient to identify all persons or entities with an ownership interest

   in UnifiedOnline.

          23.     All documents related to any agreement entered into by UnifiedOnline regarding

   the financing of UnifiedOnline’s purchase of Chanbond, as discussed in Ex. 2 to this Subpoena.




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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                                    )
     CHANBOND, LLC,                                 )
                                                    )
                    Plaintiff,                      )
                                                    )
            v.                                      )     C.A. No. ___________________
                                                    )
     COMCAST CORPORATION and                        )     TRIAL BY JURY DEMANDED
     COMCAST CABLE                                  )
     COMMUNICATIONS, LLC,                           )
                                                    )
                     Defendants.                    )
                                                    )

                           COMPLAINT FOR PATENT INFRINGEMENT

           Plaintiff ChanBond, LLC (“ChanBond”), as for its complaint of patent infringement in

    this matter, hereby alleges through its attorneys as follows:

                                           Nature of the Action

           This is an action for patent infringement of United States Patent Nos. 7,941,822 (the

    “’822 Patent”), 8,341,679 (the “’679 Patent”) and 8,984,565 (the “’565 Patent”) (collectively, the

    Patents) under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., seeking damages and

    injunctive and other relief under 35 U.S.C. § 281, et seq.

                                                The Parties

           1.      Plaintiff ChanBond is a Delaware limited liability company with its principal

    place of business at 2633 McKinney Ave., Dallas, Texas 75204.

           2.      Defendant Comcast Corporation (“Comcast Corp.”) is a Pennsylvania corporation

    with its principal place of business at 1701 John F Kennedy Boulevard, Philadelphia,

    Pennsylvania 19103. Comcast Corp. may be served with process pursuant to the Delaware long

    arm statute, 10 Del. C. § 3104.
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           3.      Defendant Comcast Cable Communications, LLC (“Comcast Cable”) is a

    Delaware limited liability company with its principal place of business at 1701 John F Kennedy

    Boulevard, Philadelphia, Pennsylvania 19103. On information and belief, Comcast Cable is a

    wholly owned, direct or indirect subsidiary of Comcast Corp. Comcast Cable may be served

    with process via its registered agent, Comcast Capital Corporation, 1201 North Market Street,

    Suite 1000, Wilmington, Delaware 19801.

           4.      Comcast Corp. and Comcast Cable are referred to herein, collectively, as

    “Comcast” or “defendants.”

                                          Jurisdiction and Venue

           5.      This is an action for patent infringement arising under the Patent Laws of the

    United States, Title 35 of the United States Code.

           6.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

    §§ 1331 and 1338(a) because the action concerns the infringement of United States patents.

           7.      This court has personal jurisdiction over defendants. Upon information and

    belief, each defendant transacts substantial business in the State of Delaware, directly or through

    intermediaries, including: (i) at least a portion of the infringements alleged herein, and (ii)

    regularly does or solicits business in Delaware, engages in other persistent courses of conduct,

    maintains continuous and systematic contacts in Delaware, purposefully avails itself of the

    privileges of doing business in Delaware, and/or derives substantial revenue from goods and

    services provided to individuals in Delaware. In addition, Comcast Cable is a limited liability

    corporation organized and existing under the laws of the State of Delaware.




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           8.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b) because,

    among other reasons, defendants have transacted business in the State of Delaware and

    defendants have committed and continue to commit acts of patent infringement in Delaware.

                                           The Patents-In-Suit

           9.      On May 10, 2011, the United States Patent and Trademark Office duly and legally

    issued the ’822 Patent, entitled “Intelligent Device System and Method for Distribution of Digital

    Signals on a Wideband Signal Distribution System,” to its inventors, Earl Hennenhoefer, Richard

    Snyder and Robert Stine. The inventors assigned all rights in the ’822 Patent to CBV, Inc.

    (“CBV”), which was founded by the inventors, and CBV assigned the ’822 Patent to ChanBond,

    including all rights to enforce the ’822 Patent and to recover for infringement. ChanBond has all

    right, title and interest to the ’822 Patent. The ’822 Patent is valid and in force. A true and

    correct copy of the ’822 Patent is attached hereto as Exhibit A.

           10.     On December 25, 2012, the United States Patent and Trademark Office duly and

    legally issued the ’679 Patent, entitled “Intelligent Device System and Method for Distribution of

    Digital Signals on a Wideband Signal Distribution System,” to its inventors, Earl Hennenhoefer,

    Richard Snyder and Robert Stine. The inventors assigned all rights in the ’679 Patent to CBV,

    which was founded by the inventors, and CBV assigned the ’679 Patent to ChanBond, including

    all rights to enforce the ’679 Patent and to recover for infringement. ChanBond has all right, title

    and interest to the ’679 Patent. The ’679 Patent is valid and in force. A true and correct copy of

    the ’679 Patent is attached hereto as Exhibit B.

           11.     On March 17, 2015, the United States Patent and Trademark Office duly and

    legally issued the ’565 Patent, entitled “Intelligent Device System and Method for Distribution of

    Digital Signals on a Wideband Signal Distribution System,” to its inventors, Earl Hennenhoefer,




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    Richard Snyder and Robert Stine. The inventors assigned all rights in the ’565 Patent to CBV,

    which was founded by the inventors, and CBV assigned the ’565 Patent to ChanBond, including

    all rights to enforce the ’565 Patent and to recover for infringement. ChanBond has all right, title

    and interest to the ’565 Patent. The ’565 Patent is valid and in force. A true and correct copy of

    the ’565 Patent is attached hereto as Exhibit C.

            12.     Generally, the patents-in-suit are directed in improving the data transmission of

    wideband distribution systems. Historically, data service flows (e.g. data, web traffic, voice and

    video transmitted via the Internet Protocol) have been transmitted over a single channel at a fixed

    bandwidth. But with the demand for transmission of more and more content at ever increasing

    speeds, the capabilities of a single channel transmission methodology became exhausted.

            13.     The patents-in-suit address and overcome, among other things, the throughput

    problems regarding this single channel methodology. The inventors of the patents-in-suit

    invented intelligent devices that allow a single data service flow (e.g. large data transmissions) to

    be split and modulated onto multiple channels for transmission. This transmission is then

    demodulated and recombined back into a single service flow for distribution to addressable

    devices. Using the inventions, service providers are now capable of efficiently transmitting more

    content at higher speeds and better quality of service.

                                          COUNT I
                              (INFRINGEMENT OF THE ’822 PATENT)

            14.     Plaintiff incorporates paragraphs 1 through 13 herein by reference as if set forth

    here in full.

            15.     Upon information and belief, Comcast has been and is currently directly

    infringing, literally or under the doctrine of equivalents, one or more claims of the ’822 Patent by

    making, using, testing, offering to sell, and/or selling within the United States, and/or importing



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    into the United States, without authority, cable systems and cable services that are covered by at

    least one claim of the ’822 Patent. The accused cable systems include cable system components

    such as cable modem termination systems, RF transmission hardware, network monitoring

    equipment and customer premises equipment (e.g., cable modems, embedded multimedia

    terminal adapters, and set-top boxes), including but not limited to components that are compliant

    with the Data Over Cable System Interface Specification (“DOCSIS”) standard, version 3.0 or

    higher.1 More particularly, Comcast, without authority from Plaintiff, provides, operates,

    implements, sells, markets, imports and/or offers for sale cable systems and/or cable services that

    perform, are capable of performing or are provided having channel bonding functionality,

    including but not limited to cable systems and components that have the capability to distribute a

    service flow over multiple, bonded channels and/or the capability to receive a service flow over

    multiple, bonded channels (the “Accused Functionality”). Comcast’s cable systems and

    components that perform or are capable of performing the Accused Functionality, and/or the use

    of such cable systems and components, infringe one or more claims of the ’822 Patent under 35

    U.S.C. § 271.

           16.      As a result of Comcast’s unlawful infringement of the ’822 Patent, Plaintiff has

    suffered and will continue to suffer damages in an amount to be proven at trial. Plaintiff is

    entitled to recover from Comcast the damages adequate to compensate for such infringement,

    which have yet to be determined.

           17.      Comcast will continue to infringe the ’822 Patent unless and until it is enjoined by

    this Court.


    1
     See, e.g., http://customer.xfinity.com/help-and-support/internet/docsis3/?ts=2 (“With DOCSIS
    3.0, you’ll experience significantly faster speeds, so you can make the most of your online
    experience. DOCSIS 3.0 also opens the door to new Internet technologies.”)


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                                         COUNT II
                              (INFRINGEMENT OF THE ’679 PATENT)

            18.     Plaintiff incorporates paragraphs 1 through 17 herein by reference as if set forth

    here in full.

            19.     Upon information and belief, Comcast has been and is currently directly

    infringing, literally or under the doctrine of equivalents, one or more claims of the ’679 Patent by

    making, using, testing, offering to sell, and/or selling within the United States, and/or importing

    into the United States, without authority, cable systems and cable services that are covered by at

    least one claim of the ’679 Patent. The accused cable systems include cable system components

    such as cable modem termination systems, RF transmission hardware, network monitoring

    equipment and customer premises equipment (e.g., cable modems, embedded multimedia

    terminal adapters, and set-top boxes), including but not limited to components that are compliant

    with the DOCSIS standard, version 3.0 or higher. More particularly, Comcast, without authority

    from Plaintiff, provides, operates, implements, sells, markets, imports and/or offers for sale cable

    systems and/or cable services that perform, are capable of performing or are provided having

    channel bonding functionality, including but not limited to cable systems and components that

    have the capability to distribute a service flow over multiple, bonded channels and/or the

    capability to receive a service flow over multiple, bonded channels (the “Accused

    Functionality”). Comcast’s cable systems and components that perform or are capable of

    performing the Accused Functionality, and/or the use of such cable systems and components,

    infringe one or more claims of the ’679 Patent under 35 U.S.C. § 271.

            20.     As a result of Comcast’s unlawful infringement of the ’679 Patent, Plaintiff has

    suffered and will continue to suffer damages in an amount to be proven at trial. Plaintiff is




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    entitled to recover from Comcast the damages adequate to compensate for such infringement,

    which have yet to be determined.

            21.     Comcast will continue to infringe the ’679 Patent unless and until it is enjoined by

    this Court.

                                         COUNT III
                              (INFRINGEMENT OF THE ’565 PATENT)

            22.     Plaintiff incorporates paragraphs 1 through 21 herein by reference as if set forth

    here in full.

            23.     Upon information and belief, Comcast has been and is currently directly

    infringing, literally or under the doctrine of equivalents, one or more claims of the ’565 Patent by

    making, using, testing, offering to sell, and/or selling within the United States, and/or importing

    into the United States, without authority, cable systems and cable services that are covered by at

    least one claim of the ’565 Patent. The accused cable systems include cable system components

    such as cable modem termination systems, RF transmission hardware, network monitoring

    equipment and customer premises equipment (e.g., cable modems, embedded multimedia

    terminal adapters, and set-top boxes), including but not limited to components that are compliant

    with the DOCSIS standard, version 3.0 or higher. More particularly, Comcast, without authority

    from Plaintiff, provides, operates, implements, sells, markets, imports and/or offers for sale cable

    systems and/or cable services that perform, are capable of performing or are provided having

    channel bonding functionality, including but not limited to cable systems and components that

    have the capability to distribute a service flow over multiple, bonded channels and/or the

    capability to receive a service flow over multiple, bonded channels (the “Accused

    Functionality”). Comcast’s cable systems and components that perform or are capable of




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    performing the Accused Functionality, and/or the use of such cable systems and components,

    infringe one or more claims of the ’565 Patent under 35 U.S.C. § 271.

            24.      As a result of Comcast’s unlawful infringement of the ’565 Patent, Plaintiff has

    suffered and will continue to suffer damages in an amount to be proven at trial. Plaintiff is

    entitled to recover from Comcast the damages adequate to compensate for such infringement,

    which have yet to be determined.

            25.      Comcast will continue to infringe the ’565 Patent unless and until it is enjoined by

    this Court.

                  WILLFUL INFRINGEMENT OF THE ’822, ’679, and ’565 PATENTS

            26.      Plaintiff incorporates paragraphs 1 through 25 herein by reference as if set forth

    here in full.

            27.      In January 2012, Comcast announced that it had completed its rollout of DOCSIS

    3.0.

            28.      In February 2012, a business associate of the inventors communicated with Mr.

    Joseph DiTrolio, Comcast Vice President and Corporate Comptroller, regarding the patent

    portfolio. On February 23, 2012, the business associate had a face-to-face meeting with Mr.

    DiTrolio, wherein he provided a write-up that identified the ’822 Patent and the application that

    would issue as the ’679 Patent, and that indicated other continuations were pending. The write-

    up described the patents and applications and their applicability to DOCSIS 3.0 and the cable

    industry’s channel bonding technology. The business associate and Mr. DiTrolio discussed the

    patents, patent applications, relevant technology, and the patents’ and patent applications’

    applicability to the cable industry’s channel bonding technology. By February 23, 2012, Mr.

    DiTrolio, and thus Comcast, knew of the at least the ’822 Patent and the application that would




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    issue as the ’679 Patent, and knew of their relevance to the DOCSIS 3.0 channel bonding

    technology used by Comcast.

           29.      By February 27, 2012, Mr. DiTrolio had communicated the patent portfolio and

    the write-up to Mr. James Finnegan, Comcast Senior Vice President, Intellectual Property

    Strategy. On information and belief, by February 27, 2012, Mr. Finnegan knew of the ’822

    Patent and the applications that would issue as the ’679 and ’565 Patents, and knew of their

    relevance to the DOCSIS 3.0 channel bonding technology used by Comcast.

           30.      On March 28, 2012, Mr. Hennenhoefer (one of the co-inventors) had a

    teleconference with Mr. Finnegan during which the patents, applications and CBV were

    discussed. Mr. Finnegan informed Mr. Hennenhoefer that Comcast was obtaining a legal

    opinion regarding the patents. Shortly thereafter, Mr. Hennenhoefer had a follow-up call with

    Mr. Finnegan.

           31.      On February 12, 2013, the ’822 and ’679 Patents and the application that would

    issue as the ’565 Patent were also brought to the attention of Mr. Tony Werner of Comcast. On

    February 13, 2013, Mr. Werner communicated the patents and applications, for at least a second

    time, to Mr. Finnegan. Shortly thereafter, Messrs. Hennenhoefer and Stine (another of the co-

    inventors) had a teleconference with Mr. Mark Dellinger, Comcast Vice President, Intellectual

    Property Strategy in which the patents and applications were discussed, along with their

    applicability to DOCSIS 3.0.

           32.      Despite Comcast’s knowledge of the Patents and the channel bonding technology

    that they covered, Comcast nevertheless continued making, using and selling products that

    complied with and used DOCSIS 3.0 (and higher) channel bonding, despite an objectively high

    likelihood that such actions constituted infringement of the Patents. This infringement was




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    known to Comcast or was so obvious that Comcast should have known about this infringement.

    Despite knowing that its actions constituted infringement of the Patents and/or despite knowing

    that that there was a high likelihood that its actions constituted infringement of the Patents,

    Comcast nevertheless continued its infringing actions, and continued to make, use and sell

    infringing DOCSIS 3.0 (and higher) products.

            33.     Comcast’s infringement of the ’822, ’679 and ’565 Patents has thus been

    deliberate and willful, at least since February 23, 2012.

                                          PRAYER FOR RELIEF

          WHEREFORE, Plaintiff ChanBond, LLC respectfully requests that this Court enter

    judgment in its favor as follows:

            A.      Declaring that defendants have infringed, literally and/or under the doctrine of

    equivalents, at least one claim of each of the ’822, ’679 and ’565 Patents, and that this

    infringement is willful;

            B.      Awarding to Plaintiff the damages to which it is entitled under 35 U.S.C. § 284

    for defendants’ past infringement and any continuing or future infringement, including

    compensatory damages, and the trebling of such damages due to the willful nature of the

    infringement;

            C.      Awarding Plaintiff costs (including all disbursements) and expenses incurred in

    this action;

            D.      Awarding Plaintiff pre- and post-judgment interest on its damages;

            E.      Declaring that this case is exceptional pursuant to 35 U.S.C. §285 and awarding

    Plaintiff its attorneys’ fees and costs; and




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            F.      Awarding Plaintiff such other and further relief in law or in equity as this Court

    deems just and proper.

                                              JURY DEMAND

            Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

    any and all issues so triable by right.

    Dated: September 21, 2015                          BAYARD, P.A.

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                                  EXHIBIT L
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                            EXHIBIT M
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                  United States Court of Appeals
                      for the Federal Circuit
                                ______________________

                                ANTENNASYS, INC.,
                                 Plaintiff-Appellant

                                           v.

                     AQYR TECHNOLOGIES, INC., WINDMILL
                            INTERNATIONAL, INC.,
                              Defendants-Appellees
                             ______________________

                                      2019-2244
                                ______________________

                    Appeal from the United States District Court for the
                District of New Hampshire in No. 1:17-cv-00105-PB, Judge
                Paul J. Barbadoro.
                                 ______________________

                               Decided: October 7, 2020
                               ______________________

                    STEVEN JAY GROSSMAN, Grossman Tucker Perreault &
                Pfleger, PLLC, Manchester, NH, for plaintiff-appellant.

                    LAURA CARROLL, Burns & Levinson LLP, Boston, MA,
                for defendants-appellees. Also represented by ERIC G.J.
                KAVIAR.
                                ______________________

                 Before O’MALLEY, BRYSON, and REYNA, Circuit Judges.
                O’MALLEY, Circuit Judge.
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                     There is little more frustrating for a district court judge
                than to have the parties jointly lead you down a wrong, and
                possibly unnecessary, path. That is what occurred
                here. Unfortunately, many threshold issues that may have
                obviated the need for either claim construction or an in-
                fringement verdict remain unresolved. At first blush, this
                is a patent infringement case, with the only dispute before
                us concerning the district court’s construction of one claim
                term in United States Patent No. 7,432,868 (“the ’868 pa-
                tent”). But it is equally likely that Plaintiff’s sole federal
                question count (patent infringement) is predicated on an
                impermissible theory of liability and that the district court
                had no jurisdiction over the remaining state law claims.
                Recognizing that we do not have the benefit of a complete
                factual record on some of the underlying questions, we va-
                cate and remand.
                                        BACKGROUND
                    This case comes to us from the United States District
                Court for the District of New Hampshire’s grant of sum-
                mary judgment for Windmill International, Inc. and AQYR
                Technologies, Inc. (collectively, “Defendants”) on Plaintiff
                AntennaSys, Inc.’s patent infringement and related state
                law claims. The ’868 patent, directed to portable antenna
                positioners, has two named inventors. The inventors each
                assigned their interest in the patent to their respective em-
                ployers—AntennaSys and Windmill. The parties entered
                into a license agreement pursuant to which Windmill ac-
                quired an exclusive license to AntennaSys’s one-half inter-
                est in the patent in two separate markets—the United
                States Federal Marketplace (sales to the United States
                Government) and the commercial marketplace (sales out-
                side the Federal Marketplace). J.A. 108–09.
                    In exchange for the exclusive right and license in the
                commercial marketplace to AntennaSys’s interest in the
                patent, Windmill agreed to pay AntennaSys three percent
                of the gross sales price for each unit of products covered by
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                the patent. Under Section 4.A.4 of the agreement, if Wind-
                mill fails to meet certain minimum sales requirements in
                the commercial marketplace, its exclusive license to Anten-
                naSys’s interest becomes non-exclusive. J.A. 109. If that
                occurs, either party has the right to exploit the patent in
                the commercial marketplace, just as they would in the ab-
                sence of any agreement. As to enforcement of the patent,
                the agreement provides that, if Windmill loses its exclusiv-
                ity, either party has the right to commence a lawsuit
                against “third party” infringers. J.A. 111. The parties do
                not dispute that Windmill did, in fact, fail to meet the sales
                requirements of the agreement, such that its license to An-
                tennaSys’s one-half interest in the patent should now be
                non-exclusive.
                    As part of this transaction, the parties also agreed that
                “Windmill shall create” an LLC and “shall own the entire
                membership interest in the LLC.” J.A. 108. This LLC was
                to own both Windmill’s own interest in the patent and
                Windmill’s license to AntennaSys’s interest in the patent.
                There appears to be no dispute that Windmill did create
                such an LLC, called GBS Positioner LLC.
                     In March 2017, AntennaSys sued AQYR Technologies,
                Inc., Windmill’s wholly-owned subsidiary, for infringement
                of the ’868 patent. It separately filed an arbitration claim
                against Windmill based on an alleged failure to pay royal-
                ties for sales of the accused products pursuant to the li-
                cense agreement. The parties agreed to dismiss the
                arbitration without prejudice and to proceed in district
                court in the same suit that AntennaSys had filed against
                AQYR. Accordingly, the amended complaint contains five
                state law counts (against Windmill, AQYR, or both defend-
                ants), and one count of patent infringement (against
                AQYR). Following claim construction, AntennaSys con-
                ceded that it could not prevail on its patent infringement
                claim under the court’s construction of one of the claim
                terms. Apparently motivated by a desire to moot AQYR’s
                affirmative defenses of invalidity and unenforceability of
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                the patent in suit, AntennaSys sought summary judgment
                of non-infringement. J.A. 1170–71. AntennaSys asserted
                that the court’s construction of the disputed claim term
                precludes it “from advancing [both] a patent infringement
                liability case against defendants as well as . . . state law
                claims.” J.A. 1172. After conducting a hearing—during
                which AntennaSys agreed that it could not succeed on any
                of its state law claims absent a finding of patent infringe-
                ment—the district court entered judgment for Windmill
                and AQYR. J.A. 1 n.1; J.A. 1369–99. AntennaSys timely
                appealed. 1
                                        DISCUSSION
                    In reviewing the grant of a motion for summary judg-
                ment we apply the law of the regional circuit in which the
                district court sits, here, the First Circuit. AbbVie Deutsch-
                land GmbH & Co., KG v. Janssen Biotech, Inc., 759 F.3d
                1285, 1295 (Fed. Cir. 2014). The First Circuit reviews a
                grant of summary judgment de novo. Santiago-Diaz v. Ri-
                vera-Rivera, 793 F.3d 195, 199 (1st Cir. 2015).
                    On appeal, AntennaSys challenges the district court’s
                claim construction. Defendants argue, however, that we



                    1   Defendants filed a notice of cross-appeal, but An-
                tennaSys moved to dismiss that cross-appeal as improperly
                directed to AQYR’s affirmative defense of patent invalidity.
                We granted AntennaSys’s motion, explaining that it was
                improper for AQYR to pursue its cross-appeal because the
                judgment was entirely in AQYR’s favor and the district
                court “did not enter a final judgment against AQYR on in-
                validity, but only issued a claim construction order briefly
                touching upon the issue of indefiniteness[.]” Order, Anten-
                naSys, Inc. v. AQYR Techs., Inc., No. 19-2244, at *3 (Fed.
                Cir. Dec. 5, 2019). Notably AQYR did not seek a declara-
                tory judgment of invalidity, asserting invalidity only as an
                affirmative defense to the claim of infringement.
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                need not address the merits of this appeal because Anten-
                naSys “lacks standing” to bring a patent infringement
                claim absent joinder of Windmill as a co-plaintiff. As dis-
                cussed below, although Defendants’ arguments are based
                on an incorrect view of current law, we agree that, in this
                case, whether a patent co-owner must be joined is a thresh-
                old issue that must be resolved first. We conclude, moreo-
                ver, that no judgment on infringement should be entered
                without first resolving AQYR’s affirmative defense that it
                was authorized by a co-owner to practice the ’868 patent.
                This is important because, if AQYR was never a proper
                party to these proceedings, as noted below, the district
                court had no jurisdiction over them.
                                              A.
                    Absent agreement to the contrary, “each of the joint
                owners of a patent may make, use, offer to sell, or sell the
                patented invention within the United States, or import the
                patented invention into the United States, without the con-
                sent of and without accounting to the other owners.” 35
                U.S.C. § 262. We have explained that “the congressional
                policy expressed by section 262 is that patent co-owners are
                at the mercy of each other.” Ethicon, Inc. v. U.S. Surgical
                Corp., 135 F.3d 1456, 1468 (Fed. Cir. 1998) (internal quo-
                tations omitted). Thus, “by granting a license . . . a patent
                co-owner can effectively deprive its fellow co-owner of the
                right to sue for and collect any infringement damages that
                accrue after the date of the license,” but not already-ac-
                crued damages for past infringement. Schering Corp. v.
                Roussel-UCLAF SA, 104 F.3d 341, 345 (Fed. Cir. 1997).
                    “An action for infringement,” moreover, “must join as
                plaintiffs all co-owners.” Ethicon, 135 F.3d at 1467 (em-
                phasis added). We have recognized two exceptions to this
                statutory requirement: (1) “when any patent owner has
                granted an exclusive license, he stands in a relationship of
                trust to his licensee and must permit the licensee to sue in
                his name;” and (2) “[i]f, by agreement, a co-owner waives
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                his right to refuse to join suit, his co-owners may subse-
                quently force him to join in a suit against infringers.” Eth-
                icon, 135 F.3d at 1468 n.9 (citing Indep. Wireless Tel. Co. v.
                Radio Corp. of Am., 269 U.S. 459, 469 (1926) and Willing-
                ham v. Lawton, 555 F.2d 1340, 1344–45 (6th Cir. 1977)).
                We have also held that a non-consenting co-owner or co-
                inventor can never be involuntarily joined in an infringe-
                ment action pursuant to Rule 19 of the Federal Rules of
                Civil Procedure because “the right of a patent co-owner to
                impede an infringement suit brought by another co-owner
                is a substantive right.” STC.UNM v. Intel Corp., 754 F.3d
                940, 946 (Fed. Cir. 2014). 2
                    Citing the above legal principles, Defendants assert
                that we lack jurisdiction over this appeal because Anten-
                naSys “lacks standing” to sue for infringement absent join-
                der of Windmill as a co-plaintiff. Appellees’ Br. 12–13.
                And, AQYR separately asserts that it was authorized by
                Windmill to practice the ’868 patent as a licensee. Id. at 17
                n.10. We note, as we have in other recent cases, that, fol-
                lowing the Supreme Court’s guidance in Lexmark Interna-
                tional, Inc. v. Static Control Components, Inc., 572 U.S.
                118, 128 n.4 (2014), it is improper to discuss requirements
                for establishing a statutory cause of action in terms of
                “standing.” See, e.g., Schwendimann v. Arkwright Ad-
                vanced Coating, Inc., 959 F.3d 1065, 1071 (Fed. Cir. 2020)



                    2    We are bound by the existing law of this Circuit on
                this point. As I explained in my opinion dissenting from
                the denial of the petition for rehearing en banc in
                STC.UNM v. Intel Corp., 767 F.3d 1351, 1358–67 (Fed. Cir.
                2014) (O’Malley, J., dissenting), however, and in my con-
                currence in Advanced Video Techs. LLC v. HTC Corp., 879
                F.3d 1314, 1319–26 (Fed. Cir. 2018) (O’Malley, J., concur-
                ring), I continue to disagree with the court’s declaration of
                a substantive patent right that trumps application of Rule
                19.
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                (“Supreme Court precedent ma[kes] clear that our earlier
                decisions treating the prerequisites of the Patent Act as ju-
                risdictional were wrong.”); Lone Star Silicon Innovations
                LLC v. Nanya Tech. Corp., 925 F.3d 1225, 1235 (Fed. Cir.
                2019) (“[S]o-called ‘statutory standing’ defects do not impli-
                cate a court’s subject-matter jurisdiction[.]”). Anten-
                naSys’s failure to join Windmill as a co-plaintiff impacts
                AntennaSys’s ability to satisfy the statutory prerequisites
                for bringing an infringement suit; it does not impact An-
                tennaSys’s Article III standing. As we explained in Ethi-
                con, the rule that a patent co-owner may refuse to
                voluntarily join suit, thereby frustrating an infringement
                suit by another co-owner, “finds support in section 262 of
                the Patent Act[.]” 135 F.3d at 1468. Thus, contrary to
                characterizations of the issue in our pre-Lexmark case law,
                the statutory requirements of section 262 are not jurisdic-
                tional in nature.
                    Despite their non-jurisdictional nature, we agree that
                whether AntennaSys meets these statutory prerequisites
                for bringing an infringement claim is a threshold question
                that both we and the district court must resolve before
                reaching the district court’s claim construction and sum-
                mary judgment rulings. Put simply, if AntennaSys does
                not meet the statutory requirements for bringing its patent
                infringement claim against AQYR, either because Wind-
                mill was not joined as a co-plaintiff or because AntennaSys
                does not adequately state a claim under the Patent Act
                against AQYR, we need not delve into the district court’s
                claim construction. 3




                    3  As we explain below, this holds true even in the
                presence of AntennaSys’s state law claims that require an
                underlying finding of infringement.
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                                             B.
                    Having determined that we must address Defendants’
                § 262 argument as a threshold issue, we consider whether:
                (1) Defendants waived their § 262 challenge; and (2) De-
                fendants’ substantive arguments have merit.
                     We first consider whether Defendants have waived
                their § 262 challenge by failing to raise the argument ear-
                lier. Defendants’ only explanation in this regard is that
                “[t]he lack of standing issue became of practical importance
                only after AntennaSys dismissed its state law claims to se-
                cure the ability to appeal.” Appellees’ Br. 5 n.2. As dis-
                cussed above, this is not an issue of a lack of subject matter
                jurisdiction—a defense that may be considered at any point
                in the proceeding. As we explained in Lone Star, “following
                Lexmark, several courts have concluded that motions to
                dismiss based on ‘statutory standing’ defects are properly
                brought under Rule 12(b)(6) rather than Rule 12(b)(1) in
                recognition of the fact that such defects are not jurisdic-
                tional.” Lone Star, 925 F.3d at 1235. Under Rule 12(h)(2),
                moreover, the defense of failure to state a claim for relief
                may be asserted in a responsive pleading or a motion for
                judgment on the pleadings, or in a motion to dismiss at
                trial. See Charles Alan Wright & Arthur R. Miller, 5C Fed.
                Prac. & Proc. Civ. § 1392 (3d ed.). And as the First Circuit
                has held, such a defense may not be presented for the first
                time on appeal absent “unusual circumstances.” See
                Brown v. Trs. of Bos. Univ., 891 F.2d 337, 357 (1st Cir.
                1989); Brule v. Southworth, 611 F.2d 406, 410 (1st Cir.
                1979) (failure to contest issue of whether plaintiffs had
                made out a federal claim in the district court, “must be
                taken as conce[ssion] that plaintiffs did state a claim, and
                we accordingly find the issue foreclosed on appeal”).
                     Constricting our ability to resolve the issue, however,
                is the procedural path through which this case came to us
                on appeal. The district court’s grant of summary judgment
                depended on concessions the parties made during a hearing
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                following AntennaSys’s motion for summary judgment.
                See J.A. 1372–1374. Thus, depending on the nature of
                those concessions, and the court’s interactions with the
                parties, it may be that Windmill has not waived this de-
                fense because it remained live pending a trial that never
                occurred or that this case presents “unusual circum-
                stances” warranting consideration of the issue even after
                final judgment. We decline to read into the appellate rec-
                ord a waiver that the district court is better positioned to
                address.
                     We note, moreover, that, even if Windmill did waive its
                right to assert its ability as a co-owner to refuse to join an
                infringement suit against AQYR, AntennaSys does not as-
                sert that AQYR waived any of its affirmative defenses.
                Specifically, there is no assertion or indication in the record
                that AQYR waived the claim that it is a non-infringer by
                virtue of its alleged license to practice the patent. Thus,
                whether Windmill waived any of its rights may be irrele-
                vant if AQYR, which appears to be a separately incorpo-
                rated entity (whether wholly-owned or not), did not waive
                its own rights. Again, the current record prevents us from
                making this determination.
                     Unfortunately, the parties’ substantive arguments as
                to joinder of Windmill as a co-plaintiff fare no better. De-
                fendants argue that, as a mere co-owner, AntennaSys may
                neither sue AQYR for infringement on its own, nor join
                Windmill as an involuntary co-plaintiff. Appellees’ Br. 12.
                They also allege that neither of our two recognized excep-
                tions to the requirement of joinder of a patent co-owner ap-
                ply in this case—i.e., this is neither an infringement suit
                brought by an exclusive licensee, nor is there a contractual
                waiver of Windmill’s right to refuse to join suit. Id. at
                18–19 (citing STC.UNM, 754 F.3d at 946). As to the first
                exception, Defendants contend—and AntennaSys does not
                dispute—that AntennaSys is not Windmill’s exclusive li-
                censee. Id. at 19. As to the second exception, Defendants
                insist that Windmill never waived its right to refuse to join
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                suit as a co-owner of the patent, as required for Anten-
                naSys to proceed against AQYR in Windmill’s absence.
                They contend that AQYR is not a “third party” within the
                meaning of the agreement because it is a wholly-owned
                subsidiary, such that the provision discussing Anten-
                naSys’s right to sue third parties cannot apply to claims
                against AQYR. Id.
                    In response, AntennaSys does not contend that AQYR
                is a third party under the agreement. Rather, it appears
                to ask that we recognize that the § 262 requirement of join-
                der of all co-owners does not apply in the circumstances of
                this case. It argues that, underlying the § 262 requirement,
                is the principle that an accused infringer is entitled to
                avoid multiple suits for the same acts on the same patents.
                Here, AntennaSys contends, there is no risk that Windmill,
                as a defendant and co-owner, can incur duplicate liability
                by suing its own subsidiary, and thus, there is no need to
                join Windmill as a co-plaintiff. Appellant’s Reply Br.
                12–13. In addition, AntennaSys argues that joinder of
                Windmill as a plaintiff-patentee is not required because
                the joinder rule does not apply “where the patentee is the
                infringer, and must sue itself.” Appellant’s Reply Br. 13-
                14 (citing Ortho Pharm. Group v. Genetics Inst., Inc., 52
                F.3d 1324, 1325 (Fed. Cir. 1995)). We conclude that neither
                sides’ arguments help resolve the dispute.
                     In advancing their confusing and potentially meritless
                theories, the parties make certain critical omissions. Nei-
                ther party addresses, in any meaningful way, Windmill’s
                right as a co-owner, to license the ’868 patent “without the
                consent of and without accounting to” AntennaSys.
                35 U.S.C. § 262; see also Schering Corp., 104 F.3d at
                344–45 (“[T]he right to license” and “the right to bring suit
                for infringement of the patent without the other co-owner’s
                voluntarily joining the suit,” are “not incompatible, and the
                granting of one does not necessarily imply the relinquish-
                ment of the other.”). Absent agreement to the contrary,
                Windmill had every right to license the patent, and to the
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                extent AQYR obtained an express or implied license from
                any patent co-owner, AQYR’s activities are authorized and
                non-infringing. Accordingly, even if we were to conclude
                that AQYR is a third party within the meaning of the
                agreement (which, as noted, AntennaSys has not claimed),
                and that Windmill waived the right to refuse to join suit
                against third parties, we must also consider whether the
                agreement limits Windmill’s right, under 35 U.S.C. § 262,
                to practice the ’868 patent as a co-owner or AQYR’s right to
                engage in duly licensed activity.
                    Our review of the agreement produces more confusion
                than clarity, however. The agreement provides that Wind-
                mill “shall create” an LLC, which is to own both Windmill’s
                one-half undivided interest in the patent and Windmill’s
                license in AntennaSys’s interest in that same patent.
                J.A. 0108. The agreement further provides that Windmill
                “shall assign” the parties’ agreement to the LLC. Id. There
                appears to be no dispute that Windmill did, in fact, create
                such an LLC, called GBS Positioner. In their briefing, the
                parties do not address GBS Positioner’s role, nor do they
                explain why, as the presumptive co-owner-by-assignment
                of Windmill’s interest in the ’868 patent, GBS Positioner is
                not an indispensable party to this litigation. 4 The briefing
                and the record before us is also unclear on whether there
                exists an express or implied license from a patent co-owner
                to the alleged infringer. Citing to the pleadings, Windmill
                asserts that it has expressly permitted AQYR to practice
                the asserted patent, and that its provision of a product to
                AQYR to sell “extended an implied license to practice the
                ’868 [p]atent.” Appellees’ Br. 17 n.10; see also J.A. 0200
                (AQYR’s Seventeenth Affirmative Defense stating its



                    4    Defendants admit in their respective Answers that
                GBS Positioner “currently holds Windmill’s one-half inter-
                est in certain patents.” J.A. 0181 ¶14; J.A. 0192 ¶14 (em-
                phasis added).
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                “activity is permitted by an express or implied license”).
                On the record before us, we cannot ascertain whether
                Windmill’s (and AQYR’s) assertion to that effect is true or
                whether GBS Positioner, the presumptive co-owner-by-as-
                signment, granted AQYR an express or implied license to
                practice the patent in suit. Without the benefit of underly-
                ing factual findings from the district court, we refuse to ad-
                dress whether the agreement limits one patent co-owner’s
                right to practice the patent in a way that prevents it from
                issuing a license to the alleged infringer, or whether the
                patent infringement claim should be dismissed because an
                express or implied license exists.
                    Accordingly, we remand for the district court to ad-
                dress these issues in the first instance. On remand, the
                district court should resolve all factual issues pertaining to
                AntennaSys’s ability to bring its patent infringement claim
                against AQYR, including: (1) whether Windmill waived the
                right to object to AntennaSys’s failure to meet the § 262
                prerequisite, via the license agreement or otherwise;
                (2) whether GBS or Windmill holds or retains ownership
                interest in the ’868 patent; (3) whether AntennaSys’s pa-
                tent infringement suit is barred under § 262 because there
                exists an express or implied license from the real patent
                owner to AQYR; and, (4) the timing of any such license.
                                             C.
                    Finally, we address why, in the event AntennaSys’s pa-
                tent infringement claim against AQYR should be dis-
                missed—either due to absence of a co-owner or the
                existence of an implied license from a co-owner to the ac-
                cused infringer—the district court’s claim construction
                may still be unnecessary.
                    Even where federal law does not create the cause of ac-
                tion asserted, federal jurisdiction extends to a “special and
                small category” of cases in which a well-pleaded complaint
                establishes that “a federal law issue is: (1) necessarily
                raised, (2) actually disputed, (3) substantial, and
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                (4) capable of resolution in federal court without disrupting
                the federal-state balance approved by Congress.” Gunn v.
                Minton, 568 U.S. 251, 258 (2013). AntennaSys argues that
                its state law claims provide “an independent basis for dis-
                trict court and appellate jurisdiction.” Appellant’s Reply
                Br. 7–12. Citing a case from this court that long predates
                Gunn v. Minton, it contends that, whenever a state-court
                claim requires a court to engage in claim construction, the
                claim necessarily arises under the Patent Act. Appellant’s
                Reply Br. 8, 10 (citing U.S. Valves Inc. v. Dray, 212 F.3d
                1368, 1372 (Fed. Cir. 2000)). We disagree.
                     At the very least, AntennaSys cannot meet the “sub-
                stantiality” prong of the analysis. Substantiality looks to
                “the importance of the issue to the federal system as a
                whole.” Gunn, 568 U.S. at 260. A substantial federal issue
                may exist where (1) the federal issue is purely a question
                of law, rather than one that is “fact-bound and situation-
                specific”; (2) the Federal government has a direct interest
                in the issue, such as where the availability of a federal fo-
                rum to vindicate the government’s own administrative ac-
                tion is implicated; or, (3) if the court’s resolution of the
                issue will control numerous other cases. See NeuroRepair,
                Inc. v. The Nath Law Grp., 781 F.3d 1340, 1345 (Fed. Cir.
                2015) (citing Empire Healthchoice Assurance, Inc. v.
                McVeigh, 547 U.S. 677, 700 (2006) and Grable & Sons
                Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 315
                (2005)). These factors are non-exclusive and “none . . . is
                necessarily controlling.” Id. Here, the federal issue—in-
                fringement of the patent in suit—is fact-bound and situa-
                tion-specific. This case does not present a context-free
                interpretation of a patent statute, but requires merely that
                the court apply patent law to the facts of the case. As Gunn
                makes clear, it is not enough to suggest that there is an
                interest in uniform application of patent law, or that the
                federal courts are uniquely-situated to resolve the patent
                law question presented. Gunn, 568 U.S. at 261–62; see also
                Inspired Dev. Grp., LLC v. Inspired Prods. Grp., LLC, 938
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                F.3d 1355, 1365–67 (2019). If that were enough to support
                a finding of “substantiality,” we would find jurisdiction in
                any case implicating a patent law issue. Indeed, “state
                courts can be expected to hew closely to the pertinent fed-
                eral precedents” in resolving the infringement dispute at
                issue. Gunn, 568 U.S. at 262. Finally, we do not believe
                resolution of this case would control numerous other
                cases. 5
                     In sum, to the extent the district court concludes that
                AntennaSys’s patent infringement claim—the sole federal
                question count in the lawsuit—should be dismissed, the
                district court had no independent jurisdiction over the
                state law counts in AntennaSys’s complaint. Accordingly,
                if the patent infringement count is dismissed, this case be-
                longs in state court. 6
                                       CONCLUSION
                     This exercise has been an extremely frustrating one for
                the court. We suspect the district court will feel the same
                way. But just as bad facts can make bad law, misdirected
                lawyering can do the same. We refuse to take the parties’
                invitation to rule on these issues in the first instance and
                on an incomplete record. For the foregoing reasons, we
                must vacate the district court’s grant of summary judg-
                ment and remand for proceedings consistent with this opin-
                ion.
                             VACATED AND REMANDED



                     5  To the extent U.S. Valves is to the contrary, that
                precedent was abrogated by Gunn and our subsequent case
                law applying Gunn.
                    6   Because we are not privy to the parties’ discussions
                regarding Windmill’s waiver of arbitration, we express no
                view on the continued vitality of that waiver in light of our
                ruling.
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                                            COSTS
                    The parties shall bear their own costs.
